Case 1:09-cr-00466-BMC-RLM Document 641 Filed 07/10/19 Page 1 of 142 PageID #: 12888
                                                                         5007


  1    UNITED STATES DISTRICT COURT
       EASTERN DISTRICT OF NEW YORK
  2    ------------------------------x
                                                09-CR-00466(BMC)
  3    UNITED STATES OF AMERICA,
                                                United States Courthouse
  4                                             Brooklyn, New York

  5                -against-                    January 14, 2019
                                                9:30 a.m.
  6    JOAQUIN ARCHIVALDO GUZMAN LOERA,

  7                Defendant.

  8    ------------------------------x

  9                  TRANSCRIPT OF CRIMINAL CAUSE FOR TRIAL
                      BEFORE THE HONORABLE BRIAN M. COGAN
 10                       UNITED STATES DISTRICT JUDGE
                                 BEFORE A JURY
 11

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                             Official Court Reporter
Case 1:09-cr-00466-BMC-RLM Document 641 Filed 07/10/19 Page 2 of 142 PageID #: 12889
                                                                         5008


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 22

 23    Proceedings recorded by mechanical stenography.          Transcript
       produced by computer-aided transcription.
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Case 1:09-cr-00466-BMC-RLM Document 641 Filed 07/10/19 Page 3 of 142 PageID #: 12890
                                                                         5009
                            PROCEEDINGS IN CHAMBERS

  1                (The following occurred in chambers.)

  2                THE COURT:    I have been asked to hold a conference

  3    outside the courtroom by defense counsel.         The prosecution

  4    team is also present.      I do want to tell the parties in

  5    advance that there's a very good chance that I'm not going to

  6    seal this transcript and I might even summarize what we talk

  7    about when we go back into the courtroom, not in front of the

  8    jury obviously, but in the courtroom because I know what this

  9    is about and I'm not really seeing why it ought to be sealed.

 10                So you all can address it any way you want, and then

 11    you can deal with the sealing first or at the end, whenever

 12    you want to.

 13                MR. PURPURA:    Your Honor, our position, first of

 14    all, we believe it should be sealed, at least at this point.

 15    It would be that will hopefully avoid any more publicity.            We

 16    believe that the publicity, even though it's about one of the

 17    counsel in this particular case, has a very good likelihood of

 18    causing prejudice to our client Mr. Guzman as well.

 19                It was, as we all read, a rather salacious article

 20    and it's something which can be offensive and if it is

 21    offensive to certain people that can very well color their

 22    opinion of our client in this particular case.          We're trying

 23    to avoid any further publicity, so that's the reason for the

 24    request to seal the proceedings.

 25                THE COURT:    And then is there a further request

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Case 1:09-cr-00466-BMC-RLM Document 641 Filed 07/10/19 Page 4 of 142 PageID #: 12891
                                                                         5010
                            PROCEEDINGS IN CHAMBERS

  1    beyond sealing?

  2                MR. PURPURA:    Yes, there is.     We're going to ask the

  3    Court, the first request would be for the Court, Your Honor,

  4    to go in and speak to the jury in camera and to just ask the

  5    jury, much like your instruction is on a daily basis but just

  6    now to add counsel because I don't believe your instruction

  7    mentioned any articles about counsel as well, so to add

  8    counsel to that simple instruction and say in particular over

  9    the weekend.     If they have, then we'd be satisfied if the

 10    Court voir dire'd them and if the Court determined that they

 11    could still be fair and impartial, then we'd be satisfied.

 12                I think that protects the record and I think it

 13    protects any Title 28 Section 2255 motions, which may -- which

 14    will come up on this particular issue.

 15                THE COURT:    All right.    What's the government's

 16    position both with regard to sealing and procedure?

 17                MS. PARLOVECCHIO:     Your Honor, we don't take a

 18    position with regard to sealing.        As to the procedure of voir

 19    dire'g, if the Court is to make inquiry we would request it be

 20    very narrow in scope, that perhaps the Court give your usual

 21    admonition that, you know, as I've asked you consistently over

 22    the course of the trial, please don't look at any news

 23    coverage or do any Internet research in regard to this case.

 24    I just want to ask if over the weekend the jury saw -- anyone

 25    in the jury saw an article published this weekend in the New

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Case 1:09-cr-00466-BMC-RLM Document 641 Filed 07/10/19 Page 5 of 142 PageID #: 12892
                                                                         5011
                            PROCEEDINGS IN CHAMBERS

  1    York Post with regard to one defense counsel and leave it at

  2    that.

  3                The concern is if the request is too overbroad then

  4    we get, oh, I accidentally saw a headline over my shoulder on

  5    the subway, and then it sort of spirals out of control.            We

  6    would request it be incredibly narrow to just to address this

  7    specific issue.

  8                MR. PURPURA:    Not only saw, did anyone else talk to

  9    you about that article.

 10                THE COURT:    And you don't envision me doing this in

 11    open court obviously, you want me to do this myself going into

 12    the jury room and having a conversation with the jurors as a

 13    group and if anyone races a hand I take that person aside and

 14    get the details.

 15                MR. PURPURA:    Yes.

 16                MS. PARLOVECCHIO:      Yes, Your Honor, and I think it

 17    would be the procedure pursuant to Gaggy.

 18                THE COURT:    Right.

 19                The reason I hesitate is because, first of all, my

 20    instruction to them has been do not review any media having

 21    anything to do about the case, which I think ought to cover

 22    the article we're questioned about.        In addition, there has

 23    been no indication that they've disregarded that direction.

 24    The media coverage has been unparalleled in my experience and

 25    I think most other judges.       There was an article in The Wall

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Case 1:09-cr-00466-BMC-RLM Document 641 Filed 07/10/19 Page 6 of 142 PageID #: 12893
                                                                         5012
                            PROCEEDINGS IN CHAMBERS

  1    Street Journal this weekend about the school of management

  2    according to El Chapo, which tied the trial into various

  3    business management school techniques.         I mean the reporters

  4    are thinking of every possible angle to run on this and my

  5    concern is if I do ask this question to the jury, I might well

  6    get negative answers but I might well spur some curiosity that

  7    causes them to, for the first time, not fully adhere to my

  8    instruction.

  9                Now, on the other hand, it is part of the standard

 10    closing instructions that I would give to say something to

 11    them to the effect that, you know, this is not about the

 12    attorneys and it does not matter whether you like or dislike

 13    the attorneys, this has to be judged on the merits of the

 14    case.   And I think that kind of instruction, being intuitive

 15    and reinforcing for the jurors what they already should know

 16    and probably do know, may be sufficient.

 17                Does that persuade anyone that maybe we just don't

 18    do anything with this and let it go?

 19                MR. LICHTMAN:    It persuades me.

 20                MR. PURPURA:    You try to try a case, you look at

 21    when it's over and how someone else is going to look at it and

 22    someone else sitting in the position representing Mr. Guzman

 23    at that point would strongly suggest to the Court that because

 24    of the nature and the content of the article and how offensive

 25    it may be particularly to women jurors, and how that may spill

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                             Official Court Reporter
Case 1:09-cr-00466-BMC-RLM Document 641 Filed 07/10/19 Page 7 of 142 PageID #: 12894
                                                                         5013
                            PROCEEDINGS IN CHAMBERS

  1    over on Mr. Guzman, that we would still request -- I will

  2    still request that the Court go in and speak with them on this

  3    issue.    And I will say nothing further.

  4                THE COURT:    Okay.   Here's what I'm going to do.

  5    First of all, I am not going to seal this transcript, I don't

  6    think there's grounds.      I am going to summarize the transcript

  7    when we go back into court after I do the exercise I'm next

  8    about to announce I will do.

  9                I will say we met on this and the transcript is

 10    available and there was an article about one of the attorneys

 11    and I determined to speak to the jurors about whether it would

 12    have any impact on their deliberations.

 13                Then I will go in to the room and I will say to

 14    them, without mentioning the New York Post, I will say to

 15    them, there was an article that spoke extensively about one of

 16    the attorneys in this case over the weekend.          I know you've

 17    been trying not to observe any media, but did anyone see or

 18    read that article.      If I get affirmative responses to that,

 19    then I will take each affirmative response into a separate

 20    room and I will poll that person as to whether they feel able

 21    to disregard what they read in the article and not hold it

 22    against the defendant in any way and give him a fair trial.

 23                Any objections to that procedure?

 24                MR. PURPURA:    No, thank you.

 25                MS. PARLOVECCHIO:     No, Your Honor.

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Case 1:09-cr-00466-BMC-RLM Document 641 Filed 07/10/19 Page 8 of 142 PageID #: 12895
                                                                         5014
                            PROCEEDINGS IN CHAMBERS

  1                MR. BALAREZO:    The only question I would have is

  2    would that be on the record.

  3                THE COURT:    Everything will be on the record,

  4    everything, including my general remarks to the jury and then

  5    anyone I speak to individually.

  6                Okay.   Thank you.    See you upstairs.

  7                MS. PARLOVECCHIO:     Thank you, Your Honor.

  8                MR. BALAREZO:    Thank you.

  9                (Recess.)

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                             Official Court Reporter
Case 1:09-cr-00466-BMC-RLM Document 641 Filed 07/10/19 Page 9 of 142 PageID #: 12896
                                                                         5015
                                   PROCEEDINGS

  1                (Open court; jury not present.)

  2                THE COURTROOM DEPUTY:      All rise.

  3                THE COURT:    Good morning.    Have a seat, please.

  4                The attorneys asked me this morning for an in camera

  5    conference to inquire about potential effect on the jury of

  6    certain media coverage that tangentially related to the case

  7    over the weekend.     I rejected the request to seal that

  8    transcript, and it is available.        And just to summarize what

  9    it was that was essentially it; the attorneys wanted me to

 10    inquire of the jury on the record, but privately, so there is

 11    a record of this, whether any of them had been exposed to the

 12    article that the attorneys considered might be problematic.

 13                My plan was to ask the jury generally if anyone had

 14    seen or heard of the particular article in question and, if

 15    so, then I would isolate that juror and have an inquiry with

 16    that juror as to whether they were able to maintain their

 17    impartiality and not, in any way, let that article affect

 18    their impartial deliberation of the evidence.

 19                So I've done that.     I went into the jury room and I

 20    told them essentially what I've just outlined to you.           I

 21    received an absolute unanimous adamant, What are you talking

 22    about, Judge?     You told us not to look at articles.        We

 23    haven't seen everything -- anything.

 24                I did not ask each juror that individually, but I

 25    did repeat it a couple of times, and I looked at their faces

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                             Official Court Reporter
Case 1:09-cr-00466-BMC-RLM Document 641 Filed 07/10/19 Page 10 of 142 PageID #:
                                   12897                               5016
                 ALEXANDER CIFUENTES - DIRECT - PARLOVECCHIO

1    and it is clear to me that they really did, not one of them,

2    have any idea what I was talking about; that they have been

3    obeying the instructions to stay away from media and so that

4    the matters with which the attorneys were concerned are really

5    not a concern.     I intend for that to close the matter and we

6    can proceed with the trial.

7               All right.    Let's have the government's witness back

8    and then we'll bring in the jury.

9               All right, jury, please.

10              (Jury enters courtroom.)

11              THE COURT:    Be seated, please.      Good morning again,

12   ladies and gentlemen.      We'll continue with the direct

13   examination.

14              Ms. Parlovecchio.

15   HILDEBRANDO ALEXANDER CIFUENTES VILLA, resumed as a witness,

16   having been previously duly sworn/affirmed, was examined and

17   testified further as follows:

18   DIRECT EXAMINATION

19   BY MS. PARLOVECCHIO:

20   Q     Thank you.    Good morning, Mr. Cifuentes.

21   A     Good morning, Miss.

22   Q     Before the break on Thursday, you testified about a

23   meeting that you had with the defendant on an ostrich ranch in

24   2002.

25              Do you recall that testimony?

                     GEORGETTE K. BETTS, RPR, FCRR, CCR
                          Official Court Reporter
Case 1:09-cr-00466-BMC-RLM Document 641 Filed 07/10/19 Page 11 of 142 PageID #:
                                   12898                               5017
                 ALEXANDER CIFUENTES - DIRECT - PARLOVECCHIO

1    A     Yes, I remember.

2    Q     To whom did that ranch belong?

3    A     That ranch used to belong to Robachivas, who is now dead.

4    He was a partner of my brother's, Jorge Milton Cifuentes

5    Villa.

6    Q     What was the name of the Robachivas' widow?

7    A     Mrs. Laura Avila Barraza.

8    Q     Now before the break on Thursday, you also testified that

9    you had many conversations with the defendant which allowed

10   you to become familiar with his voice.

11                Do you remember that testimony?

12   A     That's correct.

13   Q     And approximately how many times have you spoken with the

14   defendant, both face to face and over the phone?

15   A     Hundreds of calls.

16   Q     Now, Mr. Cifuentes, I'm going to show you what's in

17   evidence as Government's Exhibit 601J.

18                Do you recognize this?

19   A     Yes.

20   Q     What do you recognize it to be?

21   A     This is a CD and it has my initials on it and the date

22   that I wrote down, and it has -- contains some audio.

23   Q     Did you listen to all of the audio contained on this disk

24   before you came to court today?

25   A     That's right.

                      GEORGETTE K. BETTS, RPR, FCRR, CCR
                           Official Court Reporter
Case 1:09-cr-00466-BMC-RLM Document 641 Filed 07/10/19 Page 12 of 142 PageID #:
                                   12899                               5018
                 ALEXANDER CIFUENTES - DIRECT - PARLOVECCHIO

1    Q     And were you asked to identify the speakers on those

2    recordings?

3    A     That's right.

4                 MS. PARLOVECCHIO:    Now just for the witness only,

5    please.

6    Q     I'm showing you what's marked for identification as

7    Government's Exhibit 601J-9.

8                 What are we looking at here, sir?

9    A     We are looking at my handwriting for each audio that I

10   listened to and the people that I recognized, I wrote their

11   names on here.

12                MS. PARLOVECCHIO:    The government moves to admit

13   Government's Exhibit 601J-9.

14                MR. LICHTMAN:   No objection.

15                THE COURT:    Received.

16                (Government   Exhibit 601J-9, was received in

17   evidence.)

18   BY MS. PARLOVECCHIO:

19   Q     Just to be clear, Mr. Cifuentes, does the list here shown

20   at 601J-9 correspond to the recordings that you listened to

21   here on 601J?

22   A     Yes.

23   Q     And just looking again at 601J-9, who is the speaker on

24   all but one of these calls?

25   A     Mr. Joaquin Guzman Loera.

                      GEORGETTE K. BETTS, RPR, FCRR, CCR
                           Official Court Reporter
Case 1:09-cr-00466-BMC-RLM Document 641 Filed 07/10/19 Page 13 of 142 PageID #:
                                   12900                               5019
                 ALEXANDER CIFUENTES - DIRECT - PARLOVECCHIO

1    Q     Now, Mr. Cifuentes, I'm going to play an audio clip for

2    you from Government's Exhibit 601J.

3                 MS. PARLOVECCHIO:    And just direct the ladies and

4    gentlemen of the jury to the binders under your chairs and

5    also this call will come up on your screens as well.

6    Q     The first transcript will be 601-I4-AT starting at

7    paragraph 5.

8    A     Which one is that?

9                 (Audiotape played.)

10                (Audiotape stopped.)

11   Q     Mr. Cifuentes, did you recognize any of the speakers

12   during that audio clip?

13   A     Yes.

14   Q     Which voices did you recognize?

15   A     Mr. Joaquin Guzman Loera.

16   Q     Now, what initials did you see on the transcript that

17   corresponded with the defendant's voice?

18   A     JGL.

19   Q     And, generally, what is the defendant and this person

20   discussing on this portion of the call?

21   A     Well, Joaquin is asking about some yachts and some small

22   boats that are in Cuate's hands.       He's asking for the capacity

23   of the small boats, and the man is answering that they are

24   some old boats, they are secondhand, and he does not recommend

25   that they be used for anything.

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                           Official Court Reporter
Case 1:09-cr-00466-BMC-RLM Document 641 Filed 07/10/19 Page 14 of 142 PageID #:
                                   12901                               5020
                 ALEXANDER CIFUENTES - DIRECT - PARLOVECCHIO

1    Q      Can you -- I'm sorry, go ahead.

2    A      And he's saying that there are three new yachts that

3    haven't been used yet.

4    Q      Can you just remind the ladies and gentlemen of the jury

5    who El Cuate is?

6    A      El Cuate was one of the people who was in charge of

7    taking the cocaine out from the shore out to the boats.

8    Q      Now I'm going to play another audio recording for you.

9                  MS. PARLOVECCHIO:   And this time I'm going to direct

10   everyone's attention to 601I-4-BT.        That is the transcripts.

11   A      Can I have some help finding it.

12   Q      Sure.

13   A      There.

14   Q      We're going to play this clip.      It's from 601J-3B, as in

15   boy.

16                 MS. PARLOVECCHIO:   For the record, we're going to

17   play from the beginning of the clip to 45 seconds.

18                 (Audiotape played.)

19                 (Audiotape stopped.)

20   Q      Mr. Cifuentes, did you recognize any of the speakers on

21   that call?

22   A      Yes.

23   Q      Who did you recognize?

24   A      Mr. Joaquin Guzman Loera.

25   Q      I want to direct your attention to paragraph 17 of the

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                            Official Court Reporter
Case 1:09-cr-00466-BMC-RLM Document 641 Filed 07/10/19 Page 15 of 142 PageID #:
                                   12902                               5021
                 ALEXANDER CIFUENTES - DIRECT - PARLOVECCHIO

1    transcript in front of you.       Paragraph 17, where the defendant

2    says, Hey, Cuate.

3                  Who is the defendant referring to there?

4    A      To the person in charge of taking the merchandise out to

5    sea.

6    Q      Is that the individual that you just described earlier?

7    A      Yes.

8    Q      I want to direct your attention back to page 2 of the

9    transcript to paragraph 3, where the defendant asks, Do the

10   yachts have stash boxes?

11                 Based on your experience, what does the term "clavo"

12   or stash box mean here?

13   A      A compartment where drugs can be hidden.

14   Q      And now directing your attention further down the page to

15   paragraph 5, where the defendant asks, For how much did you

16   set it up?      For how much?

17                 And Cuate responds, Like for 1.2, 1.3.

18                 What do you understand that to mean?

19   A      Joaquin is asking about the capacity that the traps have.

20   To see what size the Cuate -- Cuate had made them out to be.

21   Q      What does Cuate say about it?

22   A      And Cuate answers that it's for 1200 or 1300 kilos.

23   Q      I'm going to play another audio clip for you.        And for

24   transcript reference it's 601I-7-AT.        Starting from

25   paragraph 9 to 17, and the call is in evidence as Government's

                       GEORGETTE K. BETTS, RPR, FCRR, CCR
                            Official Court Reporter
Case 1:09-cr-00466-BMC-RLM Document 641 Filed 07/10/19 Page 16 of 142 PageID #:
                                   12903                               5022
                 ALEXANDER CIFUENTES - DIRECT - PARLOVECCHIO

1    Exhibit 601J-5.

2                 (Audiotape played.)

3                 MS. PARLOVECCHIO:    We can stop it there.

4                 (Audiotape stopped.)

5    BY MS. PARLOVECCHIO:

6    Q     Mr. Cifuentes, could you identify any of the speakers on

7    this clip?

8    A     Yes.

9    Q     What voice could you identify?

10   A     Mr. Joaquin Guzman Loera.

11   Q     And just directing your attention to the transcript, in

12   paragraph 9, just to be clear, did you recognize the voice of

13   that speaker who said, Yes, yes, Senor?

14   A     Yes.

15   Q     Well, did you recognize the voice or do you see the name?

16   A     I personally know Joaquin's.

17   Q     Right, but not the other?

18   A     No.

19   Q     Now, you testified earlier -- and just to be clear on the

20   transcript we just looked at, where it says -- when the

21   defendant is speaking, what are the initials that you see in

22   the transcript?

23   A     JGL.

24   Q     Now you testified earlier that you lived with the

25   defendant in the mountains.       Approximately when did you go to

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                           Official Court Reporter
Case 1:09-cr-00466-BMC-RLM Document 641 Filed 07/10/19 Page 17 of 142 PageID #:
                                   12904                               5023
                 ALEXANDER CIFUENTES - DIRECT - PARLOVECCHIO

1    live with the defendant there?

2    A     It was approximately starting in the fall of 2007.

3    Q     Why did you go to live with the defendant?

4    A     For business reasons.

5    Q     What types of business reasons?

6    A     Cocaine.

7    Q     Any other reasons?

8    A     For security reasons.

9    Q     Any others?

10   A     Yes.

11   Q     What was that?

12   A     Yes, to guarantee the money that Joaquin was sending to

13   Colombia.    And additionally to that, follow up on cocaine

14   business.

15   Q     Where did you first live with the defendant in the

16   mountains?

17   A     Initially it was at a place called Las Trancas.

18   Q     What is Las Trancas?

19   A     Las Trancas is a place in the mountains of Sinaloa.          It's

20   kind of like broken up terrain and there's marijuana farming

21   there.

22   Q     How did you reach Las Trancas from Culiacan?

23   A     You get there via a small plane.

24   Q     And where do you land?

25   A     Near the little houses.      There is a landing strip that's

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                           Official Court Reporter
Case 1:09-cr-00466-BMC-RLM Document 641 Filed 07/10/19 Page 18 of 142 PageID #:
                                   12905                               5024
                 ALEXANDER CIFUENTES - DIRECT - PARLOVECCHIO

1    shaped like an S and it's a little complicated to land there.

2    Q     How so?

3    A     In the sense that there is a mountain on the right, and

4    if you're not an expert pilot, you can hit that mountain

5    because there's strong wind that pushes very hard.

6    Q     Now, what types of buildings were at this Las Trancas

7    location?

8    A     There were some humble pine huts.       Also a small kitchen,

9    a little warehouse in the back where the guards who were not

10   on shift can rest.     And where you can store the things that

11   you're not using.

12   Q     Now, do you know whether the defendant had any other

13   properties where he also lived in the mountains?

14   A     Yes, there were several.

15   Q     How do you know about that?

16   A     I lived with him in several of them.

17   Q     To your knowledge, how many locations did the defendant

18   have in the mountains?

19   A     I would say more than seven.

20   Q     Now, what are the names of the other places the defendant

21   had in the mountains?

22   A     There was one that was called La Cancha.         It was higher

23   up than Las Trancas.     There were two additional ones in the

24   area of Centenario.     Another one which he called Casa Viejas

25   or Don Jose, and all of that is in the area of Las Coloradas.

                     GEORGETTE K. BETTS, RPR, FCRR, CCR
                          Official Court Reporter
Case 1:09-cr-00466-BMC-RLM Document 641 Filed 07/10/19 Page 19 of 142 PageID #:
                                   12906                               5025
                 ALEXANDER CIFUENTES - DIRECT - PARLOVECCHIO

1                 There was another place we called La Playa, close to

2    a dam, and there are others that I do not recall their names.

3    Q     You mentioned a place called Las Coloradas.         What was the

4    landing strip like there?

5    A     The landing strip was located in a plateau, and the

6    ground, the soil, was reddish.       The airstrip measured

7    approximately 650 meters.      It was very wide, very comfortable

8    so that you can maneuver any small plane.         It was the one that

9    we used the most for the appointments.

10   Q     Now, what were the houses like at these other locations

11   that you've just named?

12   A     There were small houses built right there in the place

13   made out of pine.     Senor had Pantera, who built them right

14   there.    There.

15   Q     Now, did you notice anything about the windows in these

16   houses?

17   A     Yes.

18   Q     What did you notice?

19   A     They were all tinted.

20   Q     Did these houses have electricity?

21   A     Yes, all of them had electricity.

22   Q     What, if any, other modern conveniences did they have?

23   A     Well, yes.    They had electric generators which generated

24   electricity, obviously.      We had Sky, the satellite.       We had

25   plasma TVs, DVDs, washer, dryer, refrigerator; everything that

                      GEORGETTE K. BETTS, RPR, FCRR, CCR
                           Official Court Reporter
Case 1:09-cr-00466-BMC-RLM Document 641 Filed 07/10/19 Page 20 of 142 PageID #:
                                   12907                               5026
                 ALEXANDER CIFUENTES - DIRECT - PARLOVECCHIO

1    was needed.

2    Q     You mentioned something called Sky, what is Sky?

3    A     It's so that you can watch TV, like TV channels.

4    Q     Now, were these houses luxurious in nature?

5    A     No.

6    Q     Did you have an understanding why they were not luxurious

7    in nature?

8    A     Yes.   Well, so that you wouldn't attract too much

9    attention.

10   Q     Attention from whom?

11   A     From the army.

12   Q     Now, where is the general area where all of these

13   properties were located?

14   A     That is the Golden Triangle in Sinaloa.

15   Q     When you first went to live with the defendant in the

16   fall of 2007, did you only stay in the mountains or were you

17   permitted to go back and forth to Culiacan?

18   A     I would also go down to Culiacan.

19   Q     And did there come a point where you had to stay in the

20   mountains only?

21   A     That's right.

22   Q     Why was that?

23   A     Because communications improved and my presence was

24   required up in the mountains.

25   Q     After you moved to the mountains with the defendant in

                     GEORGETTE K. BETTS, RPR, FCRR, CCR
                          Official Court Reporter
Case 1:09-cr-00466-BMC-RLM Document 641 Filed 07/10/19 Page 21 of 142 PageID #:
                                   12908                               5027
                 ALEXANDER CIFUENTES - DIRECT - PARLOVECCHIO

1    2007, did any members of your family come to visit you and the

2    defendant?

3    A     Yes.

4    Q     Who is that?

5    A     My brother, Jorge Milton.

6    Q     What did Jorge Milton discuss in the mountains with the

7    defendant when he came up in 2007?

8    A     Well, there was a project which Don Joaquin wanted my

9    brother to follow through.      It was the purchase of an oil ship

10   that was going to be adjudicated to Mexican oil, Petroleos

11   Mexicanos.

12   Q     What specifics, if any, were discussed with regard to

13   this oil ship?

14   A     It was mentioned that the ship was very efficient because

15   it had like a sub underneath.       Like an emergency submarine

16   that you could use to load up or unload the cocaine.

17   Q     Was this oil ship associated with any companies?

18   A     It was affiliated to Petroleos Mexicanos, yes.

19   Q     What is Petroleos Mexicanos?

20   A     It's the company, the oil company in Mexico.

21   Q     Now, what were the other occasions when Jorge came to see

22   you and the defendant in the mountains?

23   A     Well, he came to my wedding.

24   Q     Any other occasions?

25   A     Yes, he also came to replace me.       Because of medical

                     GEORGETTE K. BETTS, RPR, FCRR, CCR
                          Official Court Reporter
Case 1:09-cr-00466-BMC-RLM Document 641 Filed 07/10/19 Page 22 of 142 PageID #:
                                   12909                               5028
                 ALEXANDER CIFUENTES - DIRECT - PARLOVECCHIO

1    reasons, I had to go to the hospital in Culiacan.          And Jorge

2    was with Joaquin up in the mountains for about eight days.

3    Q     Now, you testified earlier about a 440-kilo cocaine-based

4    shipment you did with the defendant and your sister, Dolly,

5    which included a quantity of ephedrin.

6                 Did you inform your brother Jorge that this cocaine

7    shipment also had a quantity of ephedrin on it?

8    A     No.

9    Q     Why not?

10   A     I didn't think it was necessary.

11   Q     Now, did you ever attend a birthday party for the

12   defendant while he lived in the mountains?

13   A     Yes.

14   Q     When was that birthday party?

15   A     It was April 4th, 2008.

16   Q     Did you see the defendant receive any gifts at this

17   birthday party?

18   A     Yes.

19   Q     What did you see him receive?

20   A     He received watches, cars, motorcycles.

21   Q     What types of cars?

22   A     I remember that they gave him a white armored pickup

23   truck.   Also he was gifted with a camouflaged Hummer with his

24   initials and his birth date.       He also was gifted with some

25   motorcycles that had six tires and the brand was Polaris.

                      GEORGETTE K. BETTS, RPR, FCRR, CCR
                           Official Court Reporter
Case 1:09-cr-00466-BMC-RLM Document 641 Filed 07/10/19 Page 23 of 142 PageID #:
                                   12910                               5029
                 ALEXANDER CIFUENTES - DIRECT - PARLOVECCHIO

1    Q     Who gifted the defendant the armored pickup truck?

2    A     I think it was a Damaso Lopez Nunez.

3    Q     And how about the Hummer?

4    A     His sons.

5    Q     Now, you mentioned this armored pickup truck.         Were you

6    aware of the defendant having any other armored vehicles?

7    A     In the city, yes, El Senor had cars like that.

8    Q     And how do you know he had armored vehicles down in the

9    city?

10   A     When I visited Licensiado Damaso, there were several

11   armored trucks at the office.

12   Q     To your knowledge, approximately how much cost does it

13   cost to armor a vehicle?

14                MR. LICHTMAN:   Objection.

15                THE COURT:   Sustained.

16   Q     Were you told how much -- were you told by anyone how

17   much it cost to armor a vehicle?

18   A     Yes.

19   Q     Who told you?

20   A     Licensiado Damaso.

21   Q     How much did he tell you it costs?

22   A     $150,000.

23   Q     When you were living in the mountains, who was living

24   with you and the defendant?

25   A     The guards, the maid.     There were always two maids, and

                      GEORGETTE K. BETTS, RPR, FCRR, CCR
                           Official Court Reporter
Case 1:09-cr-00466-BMC-RLM Document 641 Filed 07/10/19 Page 24 of 142 PageID #:
                                   12911                               5030
                 ALEXANDER CIFUENTES - DIRECT - PARLOVECCHIO

1    whichever girlfriend or female was with Don Joaquin.

2    Q     Now, approximately how many security guards did you see

3    on a regular basis?

4    A     There were approximately 50 people.

5    Q     And how were the security guards organized in the

6    mountains?

7    A     They were organized as the internal ring, a middle ring,

8    and external ring.

9    Q     Okay.   So those security guards who were located in the

10   internal ring, where were they located on the properties in

11   the mountains?

12   A     They were close to the perimeters that were closest to

13   the house, enough so that they would not bother Mr. Joaquin.

14   Q     How about --

15   A     Two people, one the personal secretary and they were

16   close to him.    And then the secretary's assistant.

17   Q     Now, what about the middle ring that you described, where

18   were those guards located in relation to the mountain

19   locations?

20   A     They were in the external areas, like on the roads, the

21   roadways, both at a higher level and at a lower level of the

22   perimeter, and they all had communication radios.

23   Q     How about the external ring?       Where were they located?

24   A     The external people were watching out for the landing

25   strips and for the main road entrances that we had there.

                     GEORGETTE K. BETTS, RPR, FCRR, CCR
                          Official Court Reporter
Case 1:09-cr-00466-BMC-RLM Document 641 Filed 07/10/19 Page 25 of 142 PageID #:
                                   12912                               5031
                 ALEXANDER CIFUENTES - DIRECT - PARLOVECCHIO

1    Q     Now, were you aware of what the security guards were

2    paid?

3    A     Yes.

4    Q     How do you know about that?

5    A     Well, just because I lived with Joaquin, I knew what the

6    payroll was like -- excuse me.

7                 For example, when the guys would finish up their

8    shift, for example, Toronjo, he would say, Compadre, where

9    should I go pick up my money?       And they would then tell him.

10   Q     What were the security guards paid?

11   A     20,000 pesos every 20 days.

12   Q     And what's the equivalent of that in U.S. dollars?

13   A     That was about $2,000.

14   Q     What did the defendant's security guards wear in the

15   mountains?

16   A     Military camouflaged garb.

17   Q     Did you learn who purchased the camouflaged military

18   clothing for the guards?

19   A     Joaquin would authorize the purchase of that with his

20   money.

21   Q     Now, what type of clothing did you observe the defendant

22   wearing regularly while you were in the mountains?

23   A     Military garb, camouflaged.

24   Q     Now, what did you see on his person aside from his

25   military camouflaged clothing?

                      GEORGETTE K. BETTS, RPR, FCRR, CCR
                           Official Court Reporter
Case 1:09-cr-00466-BMC-RLM Document 641 Filed 07/10/19 Page 26 of 142 PageID #:
                                   12913                               5032
                 ALEXANDER CIFUENTES - DIRECT - PARLOVECCHIO

1    A     His weapons.

2    Q     What types of weapons?

3    A     His rifle, a camouflaged R15.       It was a medium size and

4    it had a grenade launcher with 40-millimeter grenades.           He

5    carried a belt with his black, .38 super gun, with his

6    initials in the handle.      And with diamonds.

7                 THE COURT:   Let me interrupt you for just a minute.

8                 Ladies and gentlemen, I know it's Monday morning,

9    hard to get going a little, but we do need you all to please

10   focus and pay attention as virtually all of you are.

11                All right.   Please continue.

12                MS. PARLOVECCHIO:    Thank you, Your Honor.

13   Q     So you mentioned the .38 super with diamonds.         Can you

14   describe what the diamonds looked like?

15   A     Yes.    Well, it had his initials and right outside of his

16   initials, the handle had diamonds.

17   Q     I'm going to show you what's in evidence as Government's

18   Exhibit 811-1.     What's depicted in this photograph?

19   A     The gun of Mr. Joaquin Guzman.

20   Q     I'm going to show you an exhibit --

21                MS. PARLOVECCHIO:    Just for the witness only.

22   Q     I'm showing you what's marked for identification as

23   Government's Exhibit 811-3.       What's depicted in this

24   photograph?

25   A     Mr. Joaquin Guzman's gun.

                      GEORGETTE K. BETTS, RPR, FCRR, CCR
                           Official Court Reporter
Case 1:09-cr-00466-BMC-RLM Document 641 Filed 07/10/19 Page 27 of 142 PageID #:
                                   12914                               5033
                 ALEXANDER CIFUENTES - DIRECT - PARLOVECCHIO

1                 MS. PARLOVECCHIO:    The government moves to admit

2    Government's Exhibit 811-3.

3                 MR. LICHTMAN:   No objection.

4                 THE COURT:    Received.

5                 (Government   Exhibit 811-3, was received in

6    evidence.)

7    BY MS. PARLOVECCHIO:

8    Q     Mr. Cifuentes, is this the same gun that we just saw in

9    Government's Exhibit 811-1?

10   A     It's the same one.

11   Q     Now, did you learn the defendant's clothing size while

12   you lived in the mountains?

13   A     Yes.

14   Q     What was his pants waist size?

15   A     Thirty-two.

16   Q     How about his shirt?     What was his shirt size?

17   A     Medium size.

18   Q     Now, did you have an understanding why the defendant and

19   his security guards wore military clothing in the mountains?

20   A     Yes.

21   Q     What was your understanding?

22   A     So we would blend in to the jungle.

23   Q     How do you know that?

24   A     I was told that and I dressed the same way.

25   Q     I'm going to show you --

                      GEORGETTE K. BETTS, RPR, FCRR, CCR
                           Official Court Reporter
Case 1:09-cr-00466-BMC-RLM Document 641 Filed 07/10/19 Page 28 of 142 PageID #:
                                   12915                               5034
                 ALEXANDER CIFUENTES - DIRECT - PARLOVECCHIO

1                 MR. LICHTMAN:   Objection.

2                 THE COURT:   You need something more specific.

3                 MS. PARLOVECCHIO:    I'm sorry?

4                 THE COURT:   You need something more specific.

5    BY MS. PARLOVECCHIO:

6    Q     Okay.    Did anyone tell you why they were wearing military

7    clothing in the mountains?

8    A     Yes, the guards and Joaquin himself.

9    Q     Did you ever try to wear something different than

10   military clothing when you were up there?

11   A     Yes.

12   Q     And what happened?

13   A     They would tell me to change because that could be

14   noticeable from above.

15   Q     Now I'm going to show you what's in evidence as

16   Government's Exhibit 1H.      And what are we looking at here?

17   A     On the left is Mr. Joaquin Guzman Loera.         In the middle,

18   that's me.

19   Q     And what are you wearing?

20   A     Camouflaged army clothing.

21   Q     Who is this individual on the right-hand side?

22   A     The person on the right is Ms. Kire Estolano, the

23   daughter of a helicopter pilot, Mauricio Estolano, who has

24   died.

25   Q     Who did Mauricio Estolano work for?

                      GEORGETTE K. BETTS, RPR, FCRR, CCR
                           Official Court Reporter
Case 1:09-cr-00466-BMC-RLM Document 641 Filed 07/10/19 Page 29 of 142 PageID #:
                                   12916                               5035
                 ALEXANDER CIFUENTES - DIRECT - PARLOVECCHIO

1    A     For Mr. Mayo Zambada.

2    Q     Now, you testified earlier that the defendant had maids

3    living with him in the mountains.        Approximately how many

4    maids worked for him up there?

5    A     There were more than seven.      They would switch around.

6    They would arrive in pairs.

7    Q     And who are some of the maids who you recall?

8    A     I remember Conchita.     I remember Dona Mary.      I remember

9    Morena.   I remember Guera.     I remember another three that it

10   was a mother and two daughters, but I don't remember their

11   names.

12   Q     I'm going to show you what's in evidence as Government's

13   Exhibit 70.

14                Do you recognize who's depicted in this photograph?

15   A     Yes.

16   Q     Who is this?

17   A     That's Dona Mary.

18   Q     Now, were the maids like Dona Mary present when drug

19   business was discussed?

20   A     Of course.

21   Q     And was there an understanding about whether the maids

22   could repeat drug discussions that they heard at the ranch?

23                MR. LICHTMAN:   Objection.

24                THE COURT:   Sustained.

25   Q     What, if any, understanding did you have about whether

                      GEORGETTE K. BETTS, RPR, FCRR, CCR
                           Official Court Reporter
Case 1:09-cr-00466-BMC-RLM Document 641 Filed 07/10/19 Page 30 of 142 PageID #:
                                   12917                               5036
                 ALEXANDER CIFUENTES - DIRECT - PARLOVECCHIO

1    the maids could repeat drug business they heard in the

2    mountains?

3    A     Obviously, they couldn't repeat anything.

4    Q     Now, how many employees did the defendant have, as a

5    general matter?

6    A     Hundreds.

7    Q     How do you know about that?

8    A     Well, living with him.      A lot of people would come and

9    go; ask for their payroll.

10   Q     To your knowledge, what are some of the types of workers

11   that the defendant had?

12   A     Many farmers, pilots, messengers, bodyguards, gunmen,

13   drivers, merchandise crossers, sellers, drug suppliers.

14   Q     Now, you mentioned farmers.      What types of farmers were

15   these?

16   A     For marijuana and for poppy.

17   Q     Now, you testified last week that you acted as the

18   defendant's secretary.      Can you describe for the jury what

19   your daily routine in the mountains was like as the

20   defendant's secretary?

21   A     Yes, certainly.    Since the time when communications were

22   available through the Internet, I was in charge of doing the

23   sales of drugs here in New York.       Collect monies, to

24   coordinate the delivery of merchandise from Joaquin's office

25   to the distributors here in New York, also in Canada.

                     GEORGETTE K. BETTS, RPR, FCRR, CCR
                          Official Court Reporter
Case 1:09-cr-00466-BMC-RLM Document 641 Filed 07/10/19 Page 31 of 142 PageID #:
                                   12918                               5037
                 ALEXANDER CIFUENTES - DIRECT - PARLOVECCHIO

1               Also resending that money to other countries to buy

2    more drugs.

3    Q     Now what would the -- I'm sorry.

4    A     This was the constant routine.

5    Q     Now, what would the defendant do on an average day?

6    A     It depended on the season we were in, and if the army was

7    not too close by.     The most important thing in the mountains

8    is security.    You have to be watching out.

9               For example, his personal secretary had seven radios

10   for communication.     Each of them is with different external

11   people, who are constantly watching out for the army and the

12   helicopter bases.     That was very, very important.

13                There is also other people on the roadways.         For

14   example, at one time there was a roadway that was going

15   towards la mina in Las Coloradas.        It was a mine, outside an

16   abandoned gold mine, that whole area was filled with his

17   personnel which was watching out, and -- for the area, and

18   were watching out for the army when it was coming up to either

19   cut the grass or do an operation.

20   Q     Now, what about in the parts of the year or the times of

21   the season, I guess as you put it, when the military wasn't as

22   active, what was the defendant's daily routine?

23   A     He would wake up at noon.      He would ask for the messages

24   that had been received from the city, whether it was from his

25   partners or from his family.

                     GEORGETTE K. BETTS, RPR, FCRR, CCR
                          Official Court Reporter
Case 1:09-cr-00466-BMC-RLM Document 641 Filed 07/10/19 Page 32 of 142 PageID #:
                                   12919                               5038
                 ALEXANDER CIFUENTES - DIRECT - PARLOVECCHIO

1               After lunch, El Senor would request his phone calls

2    and on the speaker in his Senao phones, and he would walk

3    around under the trees and would talk to the people that he

4    had requested he be communicated with.

5               (Continued on the next page.)

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                     GEORGETTE K. BETTS, RPR, FCRR, CCR
                          Official Court Reporter
Case 1:09-cr-00466-BMC-RLM Document 641 Filed 07/10/19 Page 33 of 142 PageID #:
                                   12920                               5039
               Alexander Cifuentes Villa - Direct/Parlovecchio

1                 (In open court.)

2    DIRECT EXAMINATION

3    BY MS. PARLOVECCHIO (continuing):

4    Q     Now, who were the defendant's other secretaries during

5    the period when you were living in the mountains with him?

6    A     There were several, yes.      One we called Apache.      He was

7    eventually sent to Colombia so he was replaced by another guy,

8    Toronjo and Pinguino.

9    Q     What types of things would the defendant's other

10   secretaries do for him generally?

11   A     You mean the ones in the mountains?

12   Q     Yes.

13   A     Yes.    They would take note of everything that was needed,

14   from the receipt of supplies from the city to scheduling

15   people for appointments, you know, organizing all of the

16   appointments and passing it on to Don Joaquin, who, according

17   to his schedule, he would think about what he wanted, and then

18   it would be organized for him.

19   Q     How did the secretaries keep track of all these things

20   that they would have to do?

21   A     We all had pocket notebooks, you know, like the ones that

22   policemen have, or sometimes some that were a little larger.

23   Q     Now, just to be clear, in these notebooks that you have

24   described did the secretaries keep their handwritten notes, or

25   did the defendant keep his handwritten notes?

             MICHELE NARDONE, CSR -- Official Court Reporter
Case 1:09-cr-00466-BMC-RLM Document 641 Filed 07/10/19 Page 34 of 142 PageID #:
                                   12921                               5040
               Alexander Cifuentes Villa - Direct/Parlovecchio

1    A     It was the secretaries.

2    Q     Just to be clear, when the secretaries would write in

3    these notebooks, was it at the defendant's direction?

4                 MR. LICHTMAN:   Objection.

5                 THE COURT:   Overruled.

6    A     Yes, of course, because there were too many to do and

7    numbers.

8    Q     You testified about the secretaries that defendant had in

9    the mountains during this time you lived with him.

10                Did you know any of the defendant's other

11   secretaries?

12   A     Yes.

13   Q     Which others did you know?

14   A     I met Condor, 50, Picudo, Chaneke.

15   Q     You mentioned that Condor was one of the defendant's

16   secretaries.

17                When did Condor work for the defendant as a

18   secretary?

19   A     Well, Condor was a person who initially was part of the

20   personal security staff for him, and then he went on to have

21   the role of secretary.

22   Q     Did you meet Condor?

23   A     Yes.

24   Q     I'm going to show you what's marked for identification as

25   Government's Exhibit 63.

             MICHELE NARDONE, CSR -- Official Court Reporter
Case 1:09-cr-00466-BMC-RLM Document 641 Filed 07/10/19 Page 35 of 142 PageID #:
                                   12922                               5041
               Alexander Cifuentes Villa - Direct/Parlovecchio

1                 Do you recognize this person?

2    A     Yes.

3    Q     Who do you recognize it to be?

4    A     Condor.

5                 MS. PARLOVECCHIO:    The government moves to admit

6    Government Exhibit 63.

7                 MR. LICHTMAN:   No objection.

8                 THE COURT:   Received.

9                 (Government Exhibit 63, was received in evidence.)

10   Q     This is Condor?

11   A     That's right, that's Condor.

12   Q     Now, where did Condor serve as a secretary for the

13   defendant?

14   A     In the City of Culiacan.

15   Q     Now, you also mentioned somebody named Picudo.

16                Where did Picudo work for the defendant?

17   A     In the City of Culiacan.

18                MS. PARLOVECCHIO:    For the witness only.

19   Q     I'm going to show you what's marked for identification as

20   Government Exhibit 68.

21                What are we looking at here?

22   A     Picudo.

23                MS. PARLOVECCHIO:    The government moves to admit

24   Government Exhibit 68.

25                MR. LICHTMAN:   No objection.

             MICHELE NARDONE, CSR -- Official Court Reporter
Case 1:09-cr-00466-BMC-RLM Document 641 Filed 07/10/19 Page 36 of 142 PageID #:
                                   12923                               5042
               Alexander Cifuentes Villa - Direct/Parlovecchio

1                 THE COURT:   Received.

2                 (Government Exhibit 68, was received in evidence.)

3    Q     This is Picudo?

4    A     Yes, that's him.     That's right.

5    Q     Now, Mr. Cifuentes, who is Memin?

6    A     Memin was one of Joaquin's personal guards in the

7    mountains.

8    Q     Did his role change over time?

9    A     Yes.

10   Q     How so?

11   A     In the sense that he was a guy who was more -- he was

12   better -- more talented than others.

13   Q     How do you mean?     What do you mean by that?

14   A     Smarter, just sharper.

15   Q     Did his role change as a result?

16   A     Yes.

17   Q     How did it change?

18   A     Joaquin and I sent him to Honduras to buy a ranch to

19   build an air strip.

20   Q     Now, did there come a time when the defendant had a

21   problem with Memin?

22   A     Yes.

23   Q     How did you learn about this problem with Memin?

24   A     Well, when Memin went up to the mountains so I could do

25   the accounting for the expenses that he had made, the numbers

             MICHELE NARDONE, CSR -- Official Court Reporter
Case 1:09-cr-00466-BMC-RLM Document 641 Filed 07/10/19 Page 37 of 142 PageID #:
                                   12924                               5043
               Alexander Cifuentes Villa - Direct/Parlovecchio

1    were not matching up.      I told him to go down to the city and

2    to fix those numbers because El Senor was not going to like

3    them.

4    Q     Let me just stop you right there.

5                 Who prompted Memin to come up to the mountains to go

6    over the numbers?

7    A     Well, the woman who was in charge with him in Honduras,

8    that I had in charge in Honduras, Mrs. Julisa Breness, and she

9    told me that Mr. Memin had bought a Mercedes-Benz and that he

10   wanted for her to send it to Mexico.        And that ticked me off,

11   and I said, hum, he is spending the office's money without

12   authorization.

13   Q     So you testified that he came up to the mountains, and

14   then you sent him back down to Culiacan.

15                What happened after he went back down to Culiacan?

16   A     Yes.    Joaquin asked what happened to Memin that he should

17   be up there along with the other guards, that he should come

18   up.   He said no, he wasn't going to come up, that rather than

19   coming up there that he would rather resign.

20   Q     Who said he would rather resign?

21   A     Memin did.

22   Q     So what happened after Memin said he would rather resign?

23   A     Joaquin ordered a beating on him.

24   Q     How do you know?

25   A     The guys showed me a picture of Memin.        He was wearing a

             MICHELE NARDONE, CSR -- Official Court Reporter
Case 1:09-cr-00466-BMC-RLM Document 641 Filed 07/10/19 Page 38 of 142 PageID #:
                                   12925                               5044
               Alexander Cifuentes Villa - Direct/Parlovecchio

1    cast from like the bottom up.

2    Q     Now, when was the last time you spoke to Memin?

3    A     Up in the mountains, when I had him go and do his numbers

4    properly.

5    Q     What year was that?

6    A     That was in 2008.

7    Q     Now, these mountain locations where you lived with the

8    defendant, were any of them near commercial areas?

9    A     No.

10   Q     So how did you get provisions to these mountain

11   locations?

12   A     They came in small planes and in pickups.

13   Q     In your role as one of the defendant's secretaries, did

14   you ever do some accounting in relations to these provisions

15   purchases?

16   A     Sometimes, yes.

17   Q     How did the defendant pay for these provisions purchases?

18   A     They would give dollars to the person.        The person would

19   exchange that into Mexican pesos, and that person would start

20   making all the purchases that were needed.

21   Q     Who is the individual who was making the purchases?

22   A     Usually it was Revo.

23   Q     Now, you said that dollars would be given to the person

24   and then it would be exchanged to pesos.

25               How much, many dollars would you give him?

             MICHELE NARDONE, CSR -- Official Court Reporter
Case 1:09-cr-00466-BMC-RLM Document 641 Filed 07/10/19 Page 39 of 142 PageID #:
                                   12926                               5045
               Alexander Cifuentes Villa - Direct/Parlovecchio

1    A     A hundred fifty, $200,000.

2    Q     And how often would this 150 or $200,000 be replenished

3    for purchases?

4    A     Could be in like a month.      If the office in Culiacan had

5    too many expenses that was the case.

6    Q     So approximately, just to be clear, approximately 150,000

7    to $200,000 per month were used for provision purchases?

8    A     Yes.   For, you know, provisions, for payroll, for any

9    other purchases.     It was like a fluent petty cash.

10   Q     Now, whose money was provided to Revo for this 150 to

11   $200,000 petty cash fund?

12   A     From Mr. Joaquin Guzman.

13   Q     When you were living in the mountains with the defendant

14   who generally did you see visit the defendant there?

15   A     Well, his partners would visit him, one or a couple of

16   friends, his brothers, and his sons.

17   Q     Anyone else?

18   A     His wives.

19   Q     So which family members visited the defendant in the

20   mountains?

21   A     His brothers, his sons, and his nephews.

22   Q     I'm going to show you what's in evidence as Government

23   Exhibit 45.

24                Who is this?

25   A     His wife Emma.

             MICHELE NARDONE, CSR -- Official Court Reporter
Case 1:09-cr-00466-BMC-RLM Document 641 Filed 07/10/19 Page 40 of 142 PageID #:
                                   12927                               5046
               Alexander Cifuentes Villa - Direct/Parlovecchio

1    Q     How often did you see Emma in the mountains?

2    A     Very little.

3    Q     Now, what, if anything, would Emma cook for the defendant

4    when she came to visit him in the mountains?

5    A     Joaquin liked for her to make sweets and chalupas.

6    Q     Did Emma have any children with the defendant?

7    A     Yes.

8    Q     What children?

9    A     Two small twin girls.

10   Q     Now, what other -- did you see other wives visit the

11   defendant in the mountains?

12   A     Yes.

13   Q     Which ones?

14   A     Griselda.

15   Q     Let me show you what's in evidence as Government's

16   Exhibit 103.

17                Who are we looking at here?

18   A     Mrs. Griselda, my godmother.

19   Q     What was Griselda's nickname?

20   A     Roque.

21   Q     Were you aware whether Griselda did anything with respect

22   to drug debts owed to the defendant?

23   A     If Joaquin received any properties he would give them to

24   my godmother.

25   Q     Properties given to him as satisfaction for a drug debt?

             MICHELE NARDONE, CSR -- Official Court Reporter
Case 1:09-cr-00466-BMC-RLM Document 641 Filed 07/10/19 Page 41 of 142 PageID #:
                                   12928                               5047
               Alexander Cifuentes Villa - Direct/Parlovecchio

1    A     That's right.

2    Q     Do you know whether the defendant had any female

3    companions involved in his drug business?

4    A     Yes.

5    Q     How do you know about that?

6    A     I saw her up in the mountains.

7    Q     Who is her?

8    A     Tinita.

9    Q     What did Tinita do in defendant's drug business?

10   A     She would harvest marijuana.

11   Q     What did she do with the marijuana?

12   A     She would sell it in Los Angeles.

13   Q     Now, are you aware of any of the defendant's family

14   members who worked in his drug business?

15   A     Yes, his brothers and his sons.

16   Q     Anyone else?

17   A     And his nephews.

18   Q     Now, how do you know -- which of defendant's brothers

19   worked with him in the drug business?

20   A     Guano and Bigotes.

21   Q     How about his nephews, which nephews are you aware of

22   that worked with him in his drug business?

23   A     Thomas and Frank.

24   Q     What about his sons, which sons were you aware of working

25   in his drug business?

             MICHELE NARDONE, CSR -- Official Court Reporter
Case 1:09-cr-00466-BMC-RLM Document 641 Filed 07/10/19 Page 42 of 142 PageID #:
                                   12929                               5048
               Alexander Cifuentes Villa - Direct/Parlovecchio

1    A     Ivan and Menor.

2    Q     Now, you mentioned the defendant's brother Guano.

3                 Have you ever met Guano?

4    A     Yes.

5    Q     I'm showing you what's marked for identification as

6    Government's Exhibit 20.

7                 Who is this?

8    A     That's Mr. Guano, Joaquin Guzman's brother.

9                 MS. PARLOVECCHIO:    The government moves to admit

10   Government Exhibit 20.

11                MR. LICHTMAN:   Judge, may we have a sidebar?

12                THE COURT:   Yes.

13                (Continued on the next page.)

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             MICHELE NARDONE, CSR -- Official Court Reporter
Case 1:09-cr-00466-BMC-RLM Document 641 Filed 07/10/19 Page 43 of 142 PageID #:
                                  12930                                5049
                                   Sidebar

1               (Sidebar conference.)

2               MR. LICHTMAN:     Mr. Guzman told me that's not his

3    brother.   That being said, he did identify him.         So I don't

4    know that I can consent to something that the defendant claims

5    is not his brother.     I can do a voir dire, or I can simply go

6    through another witness to show it's not his brother.

7               THE COURT:    I leave it to you.      There is a

8    foundation for admission right now.

9               MR. LICHTMAN:     I understand.    Over my objections,

10   but.

11              THE COURT:    I don't know what your objection is.

12              MR. LICHTMAN:     I don't know what it is either, other

13   than the fact it's not him; but there is a foundation as it

14   is, as you said.

15              THE COURT:    You can challenge it on cross, if there

16   is another witness, however you want.

17              MR. LICHTMAN:     Thank you.

18              (End of sidebar conference.)

19              (Continued on the next page.)

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             MICHELE NARDONE, CSR -- Official Court Reporter
Case 1:09-cr-00466-BMC-RLM Document 641 Filed 07/10/19 Page 44 of 142 PageID #:
                                   12931                               5050
               Alexander Cifuentes Villa - Direct/Parlovecchio

1                 (In open court.)

2                 THE COURT:   All right.   Exhibit 20 is received.

3                 (Government Exhibit 20, was received in evidence.)

4    Q     Now, Mr. Cifuentes, have you ever spoken to Guano?

5    A     Yes.

6    Q     Approximately how many times?

7    A     More than ten.

8    Q     When you had these conversations with Guano did you speak

9    to him face to face or over the phone?

10   A     Both.

11   Q     Based on these conversations did you become familiar with

12   Guano's voice?

13   A     Yes.

14                MS. PARLOVECCHIO:    Just to make clear for the

15   record, we were just looking at Government's Exhibit 20,

16   two-zero.

17   Q     I'm going to play a clip for you.

18                MS. PARLOVECCHIO:    For the ladies and gentlemen of

19   the jury, this jury's transcript will be 601F, as in frank,

20   3T.   This is going to start at paragraph 27.

21                For the record, it's government Exhibit 601J-4-B,

22   time stamped 256 to 544.

23                (Recording played.)

24                MS. PARLOVECCHIO:    So we are at government's

25   exhibit -- I'm sorry -- paragraph 27.

             MICHELE NARDONE, CSR -- Official Court Reporter
Case 1:09-cr-00466-BMC-RLM Document 641 Filed 07/10/19 Page 45 of 142 PageID #:
                                   12932                               5051
               Alexander Cifuentes Villa - Direct/Parlovecchio

1                 You may proceed.   Thank you.

2                 (Recording played.)

3    BY MS. PARLOVECCHIO:

4    Q     Mr. Cifuentes, did you recognize any of the speakers

5    during that audio clip?

6    A     Yes.

7    Q     Whose voices did you recognize?

8    A     Mr. Joaquin Guzman Loera and his brother Guano.

9    Q     Just directing your attention to the transcript, when you

10   heard defendant's voice, what initials did you see?

11   A     JGL.

12   Q     When you heard Guano's voice, what name did you see on

13   the transcript?

14   A     Guano.

15   Q     Now, generally, what are they discussing on this call?

16   A     They were talking about the fact that because of the

17   phones there was a problem, because they had been informed

18   about that.     Mr. Guano is telling Joaquin that he has a snitch

19   there where he is at, a rat.       Then Joaquin says that, no, that

20   wasn't the case, otherwise they would have all been arrested.

21   And that on his end that he had already been told everything,

22   and that the police doesn't tell you everything but that it

23   had been because of the phones.

24   Q     I want to direct your attention in particular to in this

25   transcript, to paragraph 27, where Guano says the name Bigote.

             MICHELE NARDONE, CSR -- Official Court Reporter
Case 1:09-cr-00466-BMC-RLM Document 641 Filed 07/10/19 Page 46 of 142 PageID #:
                                   12933                               5052
               Alexander Cifuentes Villa - Direct/Parlovecchio

1                 Who is Bigote?

2    A     Their other brother.

3    Q     Why is he called Bigote?

4    A     He has a large mustache.

5    Q     Now, I also want to direct your attention in paragraph

6    27, where Guano says, You have a snitch there.

7                 What do you understand them to be discussing here?

8    A     A snitch, an informant.

9    Q     And directing your attention further down the page, to

10   paragraph 31, where Guano says pinches cachuchas, which is

11   translated to F'ing hoodies, what do you understand that to be

12   a reference to?

13   A     That those are the military people.

14   Q     Just directing your attention back up to paragraph 27,

15   the Spanish word for a snitch, what is that here?

16   A     Dedo.

17   Q     Now, you just testified that the term cachuchas was used

18   as a code for the military.

19                Were there any other coded terms that you used for

20   the military?

21   A     Yes.

22   Q     What were some of the other coded terms?

23   A     Los cachuchones, los guachos, or los verdes.

24   Q     Now, I also want to direct your attention in the same

25   transcript to paragraph 42, when the defendant says, Well,

             MICHELE NARDONE, CSR -- Official Court Reporter
Case 1:09-cr-00466-BMC-RLM Document 641 Filed 07/10/19 Page 47 of 142 PageID #:
                                   12934                               5053
               Alexander Cifuentes Villa - Direct/Parlovecchio

1    since you have had these for quite sometime and everywhere

2    they have been found they found antennas, it would be good.

3    I'm going to switch out the equipment already in a couple of

4    days, and then I will feel better about going out.

5                 Now, based on your experience, what do you

6    understand the defendant to mean here?

7    A     He is recommending to his brother Guano for him to better

8    use the blacks, and that in fact the phones that Joaquin is

9    using at the time, that he did not trust them anymore because

10   the government had found already some antenna, and that

11   eventually he is going to get new communications so that he

12   could talk better and trust the new system.

13   Q     Now, we heard in the call and you just used the term "the

14   blacks."

15                What is the blacks short for?

16   A     Blackberries.

17   Q     You testified earlier that you knew a secretary of the

18   defendant's named Condor.

19                How often did you speak to Condor?

20   A     Constantly.

21   Q     Now, did you speak to him over the phone or face to face?

22   A     Both.

23   Q     Based on those conversations, did you become familiar

24   with Condor's voice?

25   A     Yes.

             MICHELE NARDONE, CSR -- Official Court Reporter
Case 1:09-cr-00466-BMC-RLM Document 641 Filed 07/10/19 Page 48 of 142 PageID #:
                                   12935                               5054
               Alexander Cifuentes Villa - Direct/Parlovecchio

1    Q     I want to direct your attention to the transcript in

2    evidence, 601I-1T.

3                 MS. PARLOVECCHIO:    This is for the jury as well,

4    601I-1T.

5    Q     I'm going to play for you what's in evidence as

6    Government's Exhibit 601J-1A.

7                 MS. PARLOVECCHIO:    In the transcript this is

8    paragraphs 20 to 33.     It's time stamped 15 seconds to one

9    minute two seconds, for the record.

10                (Recording played.)

11   Q     Mr. Cifuentes, did you recognize any of the speakers on

12   that call?

13   A     Yes.

14   Q     Which speakers did you recognize?

15   A     Condor's voice.

16   Q     Anyone else?

17   A     And the voice that's in the background is Joaquin.

18   Q     Now, in the transcript what name is used when Condor is

19   speaking?

20   A     Condor.

21   Q     And when the defendant is speaking in the background,

22   what initials are used there on the transcript?

23   A     JGL.

24   Q     Now, when you were listening to this call was there a

25   third speaker as well?

             MICHELE NARDONE, CSR -- Official Court Reporter
Case 1:09-cr-00466-BMC-RLM Document 641 Filed 07/10/19 Page 49 of 142 PageID #:
                                   12936                               5055
               Alexander Cifuentes Villa - Direct/Parlovecchio

1    A     Yes.

2    Q     Are you familiar with that voice?

3    A     No.

4    Q     Now, when you were living in the mountains with the

5    defendant did there come a time when you started a project for

6    a movie with him?

7    A     That's right.

8    Q     Over what period of time did this project last?

9    A     That was right at the very end of 2007, until my arrest

10   in November of 2013.

11                THE COURT:   Ms. Parlovecchio, would this be a good

12   place to take the morning break?

13                MS. PARLOVECCHIO:    Sure.

14                THE COURT:   We will take 15 minutes, ladies and

15   gentlemen.     Please be back at 11:25.

16                Remember not to talk about the case.

17                (Jury exits.)

18                THE COURT:   Recess, 15 minutes.

19                (Recess.)

20                THE CLERK:   All rise.

21                THE COURT:   All right.   Let's have the jury, please.

22                (Jury enters.)

23                THE COURT:   All right.   Be seated, please.      Let's

24   continue.

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             MICHELE NARDONE, CSR -- Official Court Reporter
Case 1:09-cr-00466-BMC-RLM Document 641 Filed 07/10/19 Page 50 of 142 PageID #:
                                   12937                               5056
               Alexander Cifuentes Villa - Direct/Parlovecchio

1    BY MS. PARLOVECCHIO:

2    Q     Mr. Cifuentes, before the break, you testified that you

3    were working on a movie project with the defendant up until

4    your arrest in November 2013.

5    A     That's right.

6    Q     Was there also an idea for a book in connection with this

7    movie?

8    A     That's right.

9    Q     Where did this idea come from?

10   A     The idea came from my first wife, Angie.         She recommended

11   to Mr. Joaquin that he do that because there was -- he was

12   always on the news and in the newspapers and everywhere.           So

13   she said he should do a movie about his life so he could make

14   the money because the money was being made by all the papers.

15   Q     What did the defendant say about the idea for this

16   project?

17   A     He loved the idea.

18   Q     What, if any, role did the defendant have in this

19   project?

20   A     Director.

21   Q     Did he have a financial interest in this project?

22   A     Yes.

23   Q     Did you hire anyone to help you put this book and movie

24   together?

25   A     That's right.

              MICHELE NARDONE, CSR -- Official Court Reporter
Case 1:09-cr-00466-BMC-RLM Document 641 Filed 07/10/19 Page 51 of 142 PageID #:
                                   12938                               5057
               Alexander Cifuentes Villa - Direct/Parlovecchio

1    Q     Who was that?

2    A     A Colombia man, he was a producer, Javier Rey.

3    Q     Was the defendant involved in any way for providing

4    information for this book?

5    A     He certainly did.

6    Q     Now, who else provided information for this book?

7    A     Relatives of Mr. Joaquin Guzman.

8    Q     What happened to the book after you got arrested in

9    November 2013?

10   A     Well, the draft itself was delivered to Jimmy, the

11   secretary, for his son Evan.       Later on, a second draft was

12   delivered to Joaquin's lawyers.

13   Q     When was the last time that you worked on this project?

14   A     Around those days approximately.

15   Q     Now, you testified that you assisted the defendant with

16   his communications.

17              What did you do in relation to that?

18   A     Well, due to the fact that Joaquin had bad communications

19   in the mountains, my brother and myself brought in a systems

20   engineer to solve his communications problems in the

21   mountains.

22   Q     Who is this systems engineer that you are referring to?

23   A     Christian, engineer Christian.

24   Q     So did you bring him up to the mountains?

25   A     That's right.

             MICHELE NARDONE, CSR -- Official Court Reporter
Case 1:09-cr-00466-BMC-RLM Document 641 Filed 07/10/19 Page 52 of 142 PageID #:
                                   12939                               5058
               Alexander Cifuentes Villa - Direct/Parlovecchio

1    Q     So how did the defendant come to meet Christian?

2    A     He met him personally with me.

3    Q     Let me show you what's marked for identification -- I'm

4    sorry -- what's in evidence as Government's Exhibit 94.

5                Who is this?

6    A     Christian, the engineer.

7    Q     Now, briefly, what was the defendant's communication

8    system like before Christian came up to the mountains and

9    started working for him?

10   A     It was a system with some FX-2500 Motorola boxes, cell

11   phones.    They were up in the mountains, and from there the

12   signal would be picked up with some long-range telephones.

13   The signal would continuously break down.         It was very

14   unstable.

15   Q     Now, you testified that you met Christian in the

16   mountains.

17               What would Christian do when he would come up to the

18   mountains?

19   A     Well, he would arrive for the project to solve the

20   problems.    He would explain it with all the details.

21               Joaquin was very active and very receptive.         He

22   would ask questions about the range that it would reach and

23   the security that he would have with it in terms of voice.

24   Q     Now, who was in charge of the defendant's communications

25   before the defendant met Christian?

               MICHELE NARDONE, CSR -- Official Court Reporter
Case 1:09-cr-00466-BMC-RLM Document 641 Filed 07/10/19 Page 53 of 142 PageID #:
                                   12940                               5059
               Alexander Cifuentes Villa - Direct/Parlovecchio

1    A     He had other engineers that were local, Adrian, Charlie,

2    and another group of guys who were in charge of the

3    communication radios.

4    Q     You mentioned somebody named Adrian.

5                 Who is Adrian?

6    A     Adrian, we call him Gordito.       He is the trusted person

7    who Joaquin assigned to do the work that was done with

8    Christian.

9    Q     Did you ever meet Adrian?

10   A     Yes.    Mr. Joaquin introduced him to me in person.

11   Q     I'm going to show you what's in evidence as Government's

12   Exhibit 29.

13                Who is this?

14   A     Adrian, Gordito.

15   Q     Just to be clear, did Adrian continue to work for the

16   defendant after Christian came on board?

17   A     Yes.    In fact, they remained and worked as a group.

18   Q     Now, how did the defendant's communications system change

19   once Christian came to work for him?

20   A     Much better.

21   Q     How so?

22   A     In the sense that Joaquin was in communication with

23   everybody, with voice, data, encrypted.

24   Q     How did the Internet system change after Christian came

25   to work for the defendant?

             MICHELE NARDONE, CSR -- Official Court Reporter
Case 1:09-cr-00466-BMC-RLM Document 641 Filed 07/10/19 Page 54 of 142 PageID #:
                                   12941                               5060
               Alexander Cifuentes Villa - Direct/Parlovecchio

1    A     It was much better.

2    Q     Now, how, if at all, did the defendant purchase and pay

3    for setting up these new communications systems?

4                THE INTERPRETER:    Sorry, correction.

5                (Translated again.)

6    A     Once Christian presented the project Joaquin would assign

7    whatever budget was needed so it could be done as soon as

8    possible.

9    Q     Now, you mentioned somebody named Charlie before.

10               Did Charlie continue to work with the defendant once

11   Christian came to work for the defendant?

12   A     Yes, of course.    Young Charlie was the person who

13   installed the antenna.

14   Q     Now, in addition to an improved Internet system, what

15   other types of communications systems did Christian set up for

16   the defendant?

17   A     Well, Christian did things like from phone lines that

18   were virtual, to call anywhere in the world.         For example, if

19   Joaquin had a line in Colombia he would be called to a number

20   in Colombia and he would answer from Mexico.

21               Also, a system for intercepting telephones and

22   computers was installed.

23   Q     Who was Christian's primary point of contact in the

24   mountains?

25   A     I was.

             MICHELE NARDONE, CSR -- Official Court Reporter
Case 1:09-cr-00466-BMC-RLM Document 641 Filed 07/10/19 Page 55 of 142 PageID #:
                                   12942                               5061
               Alexander Cifuentes Villa - Direct/Parlovecchio

1    Q     How would the process work when you were setting up a new

2    system with Christian?

3    A     Well, Christian would arrive and he would present his

4    project.     I would see how it worked and I would talk to

5    Joaquin about the technical aspects.        Joaquin understood them

6    very well.     We would leave him direct icons on the screen,

7    direct access, so that it was easy for him to access it.

8    Q     Just to be clear, when you said so it was easy for him to

9    access it, who were you referring to?

10   A     So it would be easy to access for Joaquin Guzman Loera

11   from his private computer.

12   Q     What did the defendant pay for this new communication

13   system?

14   A     Hundreds of thousands of dollars.

15   Q     How do you know that?

16   A     It was my job to send the wire transfers.

17   Q     Now, when was the last time you saw Christian in person?

18   A     I saw him one time when he came to visit in the

19   mountains.     It was at the end of 2010 or 2011.

20   Q     Can you please describe what happened on that occasion.

21   A     Yes.    That afternoon Christian arrived with a new project

22   for telephone and computer intercept, a very new spy system.

23   Not long after that the army was approaching us.          Joaquin gave

24   the order to evacuate the site and to go to an alternate camp

25   that he had.

               MICHELE NARDONE, CSR -- Official Court Reporter
Case 1:09-cr-00466-BMC-RLM Document 641 Filed 07/10/19 Page 56 of 142 PageID #:
                                   12943                               5062
               Alexander Cifuentes Villa - Direct/Parlovecchio

1                And that night we were running approximately all

2    night until the early hours of the morning.         It was very dark

3    so none of us could see the way, until there was a little bit

4    of light at dawn.

5                We continued on our way where we were being guided

6    through.    They were waiting for us with some mules, and they

7    took us to a different path.       This was all in a canyon that

8    was very lengthy.

9                Until the next day in the afternoon when some of

10   Joaquin's personnel came and picked us up.         Some of his

11   compadres, they took us out in trucks.        That same afternoon

12   Joaquin sent Christian to see us.

13   Q     Just to take a step back, who ran with you on this

14   occasion?

15   A     All of Joaquin's guards were there, Adrian, Gordita,

16   Christian, me, Don Joaquin, his godfather, Don Juan, and I

17   believe there were some females as well.

18   Q     When you initially escaped was it on foot or was it by

19   vehicle?

20   A     On foot.

21   Q     What, if any, weapons did the security guards have with

22   them?

23   A     We were all carrying assault rifles, AK-47, R15,

24   bazookas, grenades, and Barrett 50s.

25   Q     What is a Barrett 50?

             MICHELE NARDONE, CSR -- Official Court Reporter
Case 1:09-cr-00466-BMC-RLM Document 641 Filed 07/10/19 Page 57 of 142 PageID #:
                                   12944                               5063
               Alexander Cifuentes Villa - Direct/Parlovecchio

1    A     It is a machine gun with .50 bullets.

2    Q     Now, what was Christian's demeanor while you were fleeing

3    from the military?

4    A     Christian was really scared, and I kept him right next to

5    me.

6    Q     Did Christian ever come to the mountains again after this

7    incident?

8    A     Not that I know of.

9                (Continued on the next page.)

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             MICHELE NARDONE, CSR -- Official Court Reporter
Case 1:09-cr-00466-BMC-RLM Document 641 Filed 07/10/19 Page 58 of 142 PageID #:
                                   12945                               5064
                 ALEXANDER CIFUENTES - DIRECT - PARLOVECCHIO

1    BY MS. PARLOVECCHIO:

2    Q     Did Cristian continue working for the defendant after

3    this incident?

4    A     Yes.

5    Q     Did he work with him in person or did he work with him

6    some other way?

7    A     He worked with him remotely through the computers.

8    Q     I'm going to direct your attention to 2012.         Was Cristian

9    still working for the defendant at that time?

10   A     Yes, he was working in a project.

11   Q     What kind of project?

12   A     A project with encrypted iPhones.

13   Q     Mr. Cifuentes -- sorry.

14                Are you familiar with the term extensions?

15   A     Yes.

16   Q     What are the extensions?

17   A     The extensions, that was an internal server that we had.

18   And each of the users, we all had an extension.          So a

19   three-digit extension was assigned to us.

20                MS. PARLOVECCHIO:    Just one moment, please.

21   Q     Now I'm going to play you a recording, Mr. Cifuentes.

22                MS. PARLOVECCHIO:    And for the jury, and for the

23   witness, we're going to be using Government's Exhibit 603D as

24   in David, 3T as in Tom, and I'm going to play what's in

25   evidence as Government's Exhibit 603E-3, and I'll be playing

                      GEORGETTE K. BETTS, RPR, FCRR, CCR
                           Official Court Reporter
Case 1:09-cr-00466-BMC-RLM Document 641 Filed 07/10/19 Page 59 of 142 PageID #:
                                   12946                               5065
                 ALEXANDER CIFUENTES - DIRECT - PARLOVECCHIO

1    the entire recording.

2                  (Audiotape played.)

3                  (Audiotape stopped.)

4    Q      Mr. Cifuentes, do you recognize any of the speakers on

5    this recording?

6    A      Yes.

7    Q      Which speakers do you recognize?

8    A      Cristian and me.

9    Q      And just referring you to the transcript, when you heard

10   your voice, what name did you see on the transcript?

11   A      Alex.

12   Q      And when you heard Cristian's voice, what name did you

13   see?

14   A      Cristian.

15   Q      Now, generally, what was this call about?

16   A      Well, there are two topics.     There are two main topics.

17   He was giving me some tips as to how I could use or how I

18   could place calls with me abrogating numbers.

19   Q      And the second?

20   A      Well, in the second one, he was telling me or asking me

21   about the money, because Mr. Joaquin Guzman had to approve the

22   money, and he needed to know if we could help him get that

23   approval, because there were some tests that he needed to do

24   for some protocols that were going to be used.

25   Q      And I want to direct your attention to the first page of

                       GEORGETTE K. BETTS, RPR, FCRR, CCR
                            Official Court Reporter
Case 1:09-cr-00466-BMC-RLM Document 641 Filed 07/10/19 Page 60 of 142 PageID #:
                                   12947                               5066
                 ALEXANDER CIFUENTES - DIRECT - PARLOVECCHIO

1    the transcript, paragraph 5.       Where Cristian says, Just like

2    you used to dial from Senaos.

3                 What is he referring to here about Senaos?

4    A     The Senaos were the phones that we used up in the

5    mountains and it was so that we would use them in the same

6    way, but with iPhones in the city, with three digits.

7    Q     Did you ever see the defendant use a Senao phone?

8    A     Up in the mountains, yes.

9    Q     Now, I also want to direct your attention to paragraph 32

10   of the same transcript, where Cristian says, Approve the

11   project for us already with the man to ask for that money

12   like, like -- so as to order the equipment for testing, in

13   other words, it's a need to buy.

14                I'm sorry.   I'm sorry.   Equipment for testing.      In

15   other words, there's a need to buy.

16                What do you understand Cristian to mean there?

17   A     Well, he needed money so that he could start purchasing

18   the equipment and to run some tests.

19   Q     Now, do you see a reference there to El Senor?

20   A     Yes.

21   Q     Who is Cristian referring to as El Senor?

22   A     Cristian would always call El Senor, Mr. Joaquin Guzman

23   Loera.

24   Q     Now, you described what the extension system was.          Why

25   did they call it the extension system?

                      GEORGETTE K. BETTS, RPR, FCRR, CCR
                           Official Court Reporter
Case 1:09-cr-00466-BMC-RLM Document 641 Filed 07/10/19 Page 61 of 142 PageID #:
                                   12948                               5067
                 ALEXANDER CIFUENTES - DIRECT - PARLOVECCHIO

1    A     Well, because it was three digits and they were assigned

2    as extensions.    It was like a trunk server with many

3    extensions, and each person was assigned one.          Or in the case

4    of Mr. Joaquin, he had more than five.

5    Q     What types of devices did you use to make calls on this

6    extension system?

7    A     From the mountains it would be Senaos, and in the city

8    any phone that could actually support that software and that

9    had an Internet signal, for example, Nokia phones, those were

10   the most common ones.

11   Q     Did you ever communicate over this extension system?

12   A     Once it was activated, always.

13   Q     And how about the defendant, did he ever communicate over

14   the extension system?

15   A     That's right.

16   Q     And how do you know that?

17   A     I was right next to him.

18   Q     Now, to your knowledge, to whom did the defendant give

19   extensions?

20   A     Just the people who were closest to him.

21   Q     Could you give some examples?

22   A     El Mayo; Virgo; Tomas, his nephew; his brother Guano.

23   Q     Who could call the defendant on the extension system?

24   A     Just whoever he would authorize.

25   Q     And to your knowledge, who had the defendant's extension

                     GEORGETTE K. BETTS, RPR, FCRR, CCR
                          Official Court Reporter
Case 1:09-cr-00466-BMC-RLM Document 641 Filed 07/10/19 Page 62 of 142 PageID #:
                                   12949                               5068
                 ALEXANDER CIFUENTES - DIRECT - PARLOVECCHIO

1    to be able to call him?

2    A     From South America, my brother.       Also Damaso Lopez Nunez

3    had it.   El Mayo Zambada, Virgo.

4    Q     Now, you testified Cristian also set up a system for the

5    defendant to do interceptions.       How did you learn about this

6    system?

7    A     Well, Cristian introduced the project to us in person.

8    Joaquin liked it very much.       And the software was then

9    installed on cell phones, computers, and from the computer we

10   had access to activate the microphone of any of the

11   intercepted phones.

12              We could also activate the camera.        We could extract

13   images, files.    It was just like having a copy of the phone.

14   And whenever the user placed a call, it would immediately

15   generate an Internet message that would arrive directly on

16   Joaquin Guzman's computer, and a copy was also sent directly

17   and automatically to a secretary who had been assigned for

18   interceptions and communications.        And that person would

19   listen to everything that was important and would then give a

20   report to Don Joaquin.

21   Q     Now, who would the defendant monitor on this system?

22   A     He would monitor his attorney, his chiefs of security,

23   wife.

24   Q     You mentioned that somebody would -- a secretary would

25   monitor the system.     Who was the secretary monitoring the

                     GEORGETTE K. BETTS, RPR, FCRR, CCR
                          Official Court Reporter
Case 1:09-cr-00466-BMC-RLM Document 641 Filed 07/10/19 Page 63 of 142 PageID #:
                                   12950                               5069
                 ALEXANDER CIFUENTES - DIRECT - PARLOVECCHIO

1    system?

2    A     It was Benjamin, and his son, a young man that I

3    introduced to them.

4    Q     Did Benjamin have a nickname?

5    A     That was his nickname.      His name was Enrique -- rather

6    Herminio Vega Cisneros.

7    Q     Did he have any other nicknames besides Benjamin?

8    A     Yes.

9    Q     What was that?

10   A     The bodyguards would call him Zazaza.

11   Q     How do you spell that?

12   A     Z-A-Z-A-Z-A.

13   Q     Now what, if any, role did Benjamin have in the

14   organization prior to doing the monitoring of these

15   intercepted data?

16   A     He was a driver.

17   Q     So what would Benjamin do in this role of monitoring the

18   defendant's interception system?

19   A     He would then buy phones, computers.        He would help

20   install the software.      He would add that software from that

21   phone to his computer, and then he would follow the people who

22   were intercepted.     He had to pay for all the Internet bills

23   for all of those phones.

24                And if he found any anomalies, then he would give a

25   report to Don Joaquin and the two of them knew what to do.

                      GEORGETTE K. BETTS, RPR, FCRR, CCR
                           Official Court Reporter
Case 1:09-cr-00466-BMC-RLM Document 641 Filed 07/10/19 Page 64 of 142 PageID #:
                                   12951                               5070
                 ALEXANDER CIFUENTES - DIRECT - PARLOVECCHIO

1    Q     What do you mean by anomalies?

2    A     Well, Joaquin was really interested in what the people

3    were talking about him.      If it was not anything that was

4    pertaining to him, then he didn't really care.

5    Q     Now, do you know whether the defendant ever sent messages

6    to people who were being intercepted over the system?

7    A     Of course.

8    Q     So, for example, if the defendant sent a text to one of

9    his wives who was on the system, could it also be intercepted

10   over the system?

11                MR. LICHTMAN:   Objection.

12                THE COURT:   Sustained.

13   Q     Now, how frequently did you see the defendant using this

14   interception system?

15   A     It was a system.     It was constant.

16   Q     And over the course of time, did you learn how this

17   system worked personally?

18   A     Well, in fact, in the beginning I did that job, but it is

19   a job that requires you to be on it for 24 hours and I didn't

20   like it.

21   Q     So when you say you did that job, do you mean you

22   monitored the system initially?

23   A     Yes.

24   Q     So in monitoring the system, did you learn whether the

25   defendant's messages would be intercepted over the system as

                      GEORGETTE K. BETTS, RPR, FCRR, CCR
                           Official Court Reporter
Case 1:09-cr-00466-BMC-RLM Document 641 Filed 07/10/19 Page 65 of 142 PageID #:
                                   12952                               5071
                 ALEXANDER CIFUENTES - DIRECT - PARLOVECCHIO

1    well?

2    A     Can you repeat the question, please.

3    Q     Sure.    So you testified that you were monitoring the

4    system for a period of time.

5    A     Yes.

6    Q     To your understanding, could the defendant's text

7    messages to his wives, for example, also be intercepted?

8    A     Of course.    Yes, it immediately generates an email that

9    arrives in his computer, whether it's a text message or a

10   voice message.

11   Q     Now, while you're monitoring the system, did you learn

12   which of the defendant's female companions he was monitoring?

13   A     Some of them, yes.

14   Q     Which were the ones that you knew of?

15                MR. LICHTMAN:   Judge, objection.

16                THE COURT:   Let's have a sidebar.

17                (Sidebar conference.)

18                (Continued on the next page.)

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                      GEORGETTE K. BETTS, RPR, FCRR, CCR
                           Official Court Reporter
Case 1:09-cr-00466-BMC-RLM Document 641 Filed 07/10/19 Page 66 of 142 PageID #:
                                  12953                                5072
                             SIDEBAR CONFERENCE

1               THE COURT:    Obviously, it could be embarrassing to

2    the defendant.    What is the probative value?

3               MS. PARLOVECCHIO:      Your Honor, this corroborates the

4    evidence we put into evidence last week through the FlexiSPY

5    system through Special Agent Marston.        Judge, we laid a

6    substantial foundation through the content of the text as to

7    the identities of these individuals to show that it was the

8    defendant actually on the other line of the FlexiSPY.           This is

9    further corroboration for that fact because this individual,

10   in fact, was involved in monitoring the system.

11              MR. LICHTMAN:     The operative word is further

12   corroboration.    There's been so much of this already, and it's

13   inflammatory, it's repetitive and unnecessary.

14              MS. PARLOVECCHIO:      Your Honor, this actually -- this

15   witness is there seeing the defendant using the system, so

16   he's putting the system in the defendant's hands.          We

17   certainly -- this could be the last witness that goes over it.

18              THE COURT:    It's just a 403 issue.

19              MR. LICHTMAN:     Yes.

20              THE COURT:    That's all.     I'm going to allow it.

21              MS. PARLOVECCHIO:      Thank you.

22              (End of sidebar conference.)

23              (Continued on the next page.)

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                     GEORGETTE K. BETTS, RPR, FCRR, CCR
                          Official Court Reporter
Case 1:09-cr-00466-BMC-RLM Document 641 Filed 07/10/19 Page 67 of 142 PageID #:
                                   12954                               5073
                 ALEXANDER CIFUENTES - DIRECT - PARLOVECCHIO

1                (In open court.)

2    BY MS. PARLOVECCHIO:

3    Q      Mr. Cifuentes, did you learn which of the defendant's

4    female companions he was monitoring on the interception

5    system?

6    A      Some of them, yes.

7    Q      Which were the ones that you knew of?

8    A      His wife, Emma.   A woman who was a professor, a friend of

9    his.

10   Q      Any others?

11   A      Several others whose names I don't remember.

12   Q      Now, which business associates did the defendant monitor

13   over the system?

14   A      The chief of security, Doc.

15   Q      Did you ever observe the defendant writing anything on

16   this computer you mentioned?

17   A      Yes, certainly.

18   Q      What, if anything, did you observe about how the

19   defendant wrote things?

20   A      He has some spelling mistakes.

21   Q      What kind?

22   A      There's a long -- he writes long texts.

23   Q      What types of spelling mistakes?

24               MR. LICHTMAN:    Objection.

25               THE COURT:   Overruled.

                     GEORGETTE K. BETTS, RPR, FCRR, CCR
                          Official Court Reporter
Case 1:09-cr-00466-BMC-RLM Document 641 Filed 07/10/19 Page 68 of 142 PageID #:
                                   12955                               5074
                 ALEXANDER CIFUENTES - DIRECT - PARLOVECCHIO

1    A     Like mixing up Y with I.      Where there is an H in the

2    middle of word, he won't put it in.        Sometimes he repeats the

3    E.   There's several others.      I don't remember them right now.

4    Q     Now, when was the last time you spoke to Cristian?

5    A     In 2012.

6    Q     Did there come a time when your relationship with

7    Cristian changed?

8    A     Yes.

9    Q     What happened to change your relationship with him?

10   A     Joaquin told me that Cristian was the one who had given

11   up my brother for the Americans to arrest him.

12   Q     Which brother?

13   A     My brother, Jorge Milton.

14   Q     What did the defendant say to you about Cristian giving

15   up your brother, Jorge?

16   A     That he was the one who had turned him in and that we

17   should look for him to kill him.

18   Q     What did you say to that?

19   A     I started looking for him.

20   Q     Did you inform anyone in your family about Cristian

21   cooperating?

22   A     I did.

23   Q     Who did you warn?

24   A     I was able to locate my mother and through her I was -- I

25   sent a message about it to my brother, Jorge.

                      GEORGETTE K. BETTS, RPR, FCRR, CCR
                           Official Court Reporter
Case 1:09-cr-00466-BMC-RLM Document 641 Filed 07/10/19 Page 69 of 142 PageID #:
                                   12956                               5075
                 ALEXANDER CIFUENTES - DIRECT - PARLOVECCHIO

1    Q     By what mode of communication did you contact your mother

2    about this?

3    A     Through my friend Andrea.      I had a three-way line with

4    her, and I passed on the message.

5    Q     When you say you had a three-way line with her, what type

6    of device was it?     Was it voice?    Was it text?

7    A     Blackberry.

8    Q     I'm going to show you what's in evidence as Government's

9    Exhibit 604H-7T.     Who are the participants -- what are we

10   looking at here?

11              You can look on the screen.

12   A     Yes, it's the message with Andrea, my secretary and me.

13   Q     I'm just going to show you the first page of this exhibit

14   for identification.

15              MS. PARLOVECCHIO:      And 604H-7T, this is actually in

16   evidence -- I'm sorry.

17   Q     What is the date on this page?

18   A     January 7th, 2013.

19   Q     And just turning back to the message in evidence, who is

20   the Blackberry participant Netiry?

21   A     My secretary, Andrea.

22   Q     And who is Kapaleha?

23   A     Kapaleha is me.

24   Q     Now, I want to direct your attention to line 7 where

25   Andrea says, I'll leave you two.       Who are the two that she's

                     GEORGETTE K. BETTS, RPR, FCRR, CCR
                          Official Court Reporter
Case 1:09-cr-00466-BMC-RLM Document 641 Filed 07/10/19 Page 70 of 142 PageID #:
                                   12957                               5076
                 ALEXANDER CIFUENTES - DIRECT - PARLOVECCHIO

1    referring to?

2    A     She's referring to the fact that she's going to leave me

3    in contact with my mother.

4    Q     All right.

5                 MS. PARLOVECCHIO:    Now, just for the jury, if you're

6    looking for this, it's 604H-7T.       But I'll also be putting it

7    up on the screen.

8    Q     Now, Mr. Cifuentes, I want to direct your attention to

9    the second page of the message at paragraph 16, where you say,

10   Yes, mom, I understand.

11   A     Yes.

12   Q     Can you read that paragraph aloud, please.

13   A     Yes, mom, I understand.      Especially this time of year

14   like you've always said to me, before and after.          There is

15   nothing to before -- be done.

16   Q     Now, just to be clear, you're in a conversation with your

17   mother at this point?

18   A     That's correct.

19   Q     Now, I direct your attention to paragraph 18 where you

20   say, That's good.     Send him my regards and tell him that

21   Cristian was the one who blew the whistle.

22                What are you saying here?

23   A     I'm saying to her to send my regards to my brother Jorge,

24   and to tell him that it was Cristian who turned him in.

25   Q     And just further down the page at paragraph 21, where you

                      GEORGETTE K. BETTS, RPR, FCRR, CCR
                           Official Court Reporter
Case 1:09-cr-00466-BMC-RLM Document 641 Filed 07/10/19 Page 71 of 142 PageID #:
                                   12958                               5077
                 ALEXANDER CIFUENTES - DIRECT - PARLOVECCHIO

1    say, The communications guy was the one who did the bad deed.

2               What is that a reference to?

3    A     I'm referring to the fact that Cristian was the one who

4    turned in -- who did the bad deed of turning over my brother.

5    Q     Now, you mentioned somebody named Andrea Velez.          Who is

6    Andrea Velez?

7    A     Andrea Velez was my secretary and my friend.

8    Q     I'm going to show you what's marked as Government's

9    Exhibit 49.

10              Who is this?

11   A     Andrea Fernandez.

12   Q     What types of things -- you also called her Andrea Velez.

13   Did she have two last names?

14   A     Yes, Andrea Velez Fernandez.

15   Q     And what types of things did Andrea Velez Fernandez do

16   for you?

17   A     From receiving money to deliver to other people,

18   referring to drug money.      She also helped me with the purchase

19   of communications systems.      And she would help me with work

20   appointments for people who wanted to work with Mr. Joaquin

21   Guzman.

22   Q     What methods did you use to communicate with Andrea

23   Fernandez Velez?

24   A     I had Blackberries and encrypted iPhones, the ones that

25   Cristian activated for me.

                     GEORGETTE K. BETTS, RPR, FCRR, CCR
                          Official Court Reporter
Case 1:09-cr-00466-BMC-RLM Document 641 Filed 07/10/19 Page 72 of 142 PageID #:
                                   12959                               5078
                 ALEXANDER CIFUENTES - DIRECT - PARLOVECCHIO

1    Q     Now, you testified that the defendant suggested that you

2    find and kill Cristian in retaliation for cooperating.

3    A     That's right.

4    Q     What, if anything, did you do to try to find and kill

5    Cristian?

6    A     Yes, through my friend Andrea, I started looking for him.

7    Q     How did you communicate that request to Andrea?

8    A     Through Blackberry.

9    Q     I want to show you what's in evidence as Government's

10   Exhibit 6604H-9T.

11               Directing your attention to the date of this

12   message.    What is the date?

13   A     January 7, 2013.

14   Q     Is that on the same date that you informed your mother

15   that Cristian was cooperating?

16   A     That's right.

17   Q     Now, directing your attention to the next page of the

18   message, who are the participants in this message?

19   A     Andrea and me.

20   Q     And just to be clear, who is using the screen name

21   Netiry?

22   A     Andrea is.

23   Q     And Horus?

24   A     That's me.

25   Q     Now, directing your attention to paragraphs 5 and 6 of

                     GEORGETTE K. BETTS, RPR, FCRR, CCR
                          Official Court Reporter
Case 1:09-cr-00466-BMC-RLM Document 641 Filed 07/10/19 Page 73 of 142 PageID #:
                                   12960                               5079
                 ALEXANDER CIFUENTES - DIRECT - PARLOVECCHIO

1    this message, can you read what you're saying here to Andrea.

2    A     What's the number, please?

3    Q     Five and six?

4    A     Send someone to go there tomorrow and see if they see

5    Cristian, among others.

6    Q     What are you asking Andrea to do there?

7    A     To track Cristian down.

8    Q     Now, I direct your attention to paragraph 7.         What does

9    Andrea reply to you?

10   A     In seven?

11   Q     Yes.

12   A     Andrea?

13                They might have to ask for him.      I don't know him.

14   He's Cristian what?     Referring to what's his last name.        I

15   might look him up on Google.

16   Q     What do you understand Andrea to be saying here?

17   A     Well, Andrea doesn't know him.       She doesn't know his last

18   name and she's going to start looking for him on Google.

19   Q     Now, directing your attention to paragraphs 18 and 20 of

20   the text message, where Andrea says, Give me his last name.

21   He must have Facebook.

22                And then how do you reply in paragraph 20?

23   A     I don't know his last name.

24   Q     So what are the two of you discussing here?

25   A     About looking for Cristian and we don't know his last

                      GEORGETTE K. BETTS, RPR, FCRR, CCR
                           Official Court Reporter
Case 1:09-cr-00466-BMC-RLM Document 641 Filed 07/10/19 Page 74 of 142 PageID #:
                                   12961                               5080
                 ALEXANDER CIFUENTES - DIRECT - PARLOVECCHIO

1    name.

2    Q     In paragraph 23 where Andrea says, Or ask Gordito.          Who

3    is she referring to here?

4    A     Gordito Adrian, Cristian's co-worker in Culiacan.

5    Q     Now, were you ever successful in finding Cristian?

6    A     No.

7    Q     Do you know whether Cristian was killed?

8                 MR. LICHTMAN:   Objection.

9    A     No.

10                THE COURT:   Overruled.

11   Q     Now, I want to take a step back and direct your attention

12   to January 2008.     Were you living in the mountains with the

13   defendant at that time?

14   A     Yes.

15   Q     Did anything notable within the Sinaloa Cartel happen in

16   January 2008?

17   A     Yes, ma'am.

18   Q     What happened?

19   A     Muchomo was arrested, one of the members of the cartel.

20   Q     Did you hear the defendant talk about this event?

21   A     Yes.

22   Q     What did you hear him say about it?

23   A     He spoke to the Comandante, his Godfather, that he had

24   warned Muchomo to go live in the mountains, that he should be

25   either a quieter man and he shouldn't have those kinds of

                      GEORGETTE K. BETTS, RPR, FCRR, CCR
                           Official Court Reporter
Case 1:09-cr-00466-BMC-RLM Document 641 Filed 07/10/19 Page 75 of 142 PageID #:
                                   12962                               5081
                 ALEXANDER CIFUENTES - DIRECT - PARLOVECCHIO

1    parties in such a small city.

2    Q     What did you understand the defendant to mean when he

3    said that?

4    A     That Muchomo had been arrested because he had thrown a

5    scandal on his birthday.

6    Q     You mentioned someone named Don Juan or Comandante Juan,

7    who is that?

8    A     As far as I understand, Don Juan was Joaquin's Godfather,

9    as well as his advisor.      He was his closest man.

10   Q     Did you ever meet Comandante Juan?

11   A     Yes, of course.

12   Q     I want to show you what's in evidence as Government's

13   Exhibit 1C.

14              Who is depicted in this photograph?

15   A     On the right hand is Mr. Joaquin Guzman -- sorry, on

16   left-hand side is Mr. Joaquin Guzman.        And on the right-hand

17   side is Don Juan.

18   Q     Now what, if any, role did Don Juan have in the

19   defendant's drug business?

20   A     Well, Don Juan -- well, Don Joaquin would ask him to

21   purchase the gum of the poppy.

22   Q     What was that used for?

23   A     To make heroin.

24   Q     I now want to direct your attention to later in that same

25   year, to May 2008.     Did you hear the defendant discuss any

                     GEORGETTE K. BETTS, RPR, FCRR, CCR
                          Official Court Reporter
Case 1:09-cr-00466-BMC-RLM Document 641 Filed 07/10/19 Page 76 of 142 PageID #:
                                   12963                               5082
                 ALEXANDER CIFUENTES - DIRECT - PARLOVECCHIO

1    problems he was having with the Beltran Leyvas at that time?

2    A     Yes.

3    Q     What did you hear -- what did the defendant say about

4    problems he was having with the Beltran Leyvas around that

5    period of time?

6    A     He was talking to Chinacate and he was saying how the

7    Beltran Leyvas were bringing Zetas all over to different

8    locations and installing them in houses all over the city.

9    And Joaquin -- Joaquin said that he had already warned his

10   cousin Arturo not to do those things, because that would then

11   cause problems in the future.

12   Q     When the defendant referred to his cousin Arturo, who did

13   you understand him to mean?

14   A     Arturo Beltran Leyva.

15   Q     And you mentioned that the defendant was making this

16   comment to somebody named Chinacate.        Who is Chinacate?

17   A     A person who was close to Joaquin.

18   Q     Did he do --

19   A     In regards to his security.

20   Q     Now what, if anything, changed in the mountains as a

21   result of these problems with the Beltran Leyvas?

22   A     A lot changed and it was for the worse.

23   Q     How so?

24   A     Well, a lot because the army started pursuing us even

25   more.

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                          Official Court Reporter
Case 1:09-cr-00466-BMC-RLM Document 641 Filed 07/10/19 Page 77 of 142 PageID #:
                                   12964                               5083
                 ALEXANDER CIFUENTES - DIRECT - PARLOVECCHIO

1    Q     What would happen when the army would pursue you even

2    more?

3    A     Well, sometimes we would even have to sleep on the ground

4    because we didn't have time to reach a camp.         And at times, I

5    mean, we were always on red alert because of the helicopters

6    that were flying over in the area where we were.

7    Q     Now, did you have an understanding about who was aligned

8    with the defendant in this conflict with the Beltran Leyvas?

9    A     Yes.

10   Q     Who was aligned with him?

11   A     El Mayo Zambada, Vicente Zambada, his son, Damaso, Virgo,

12   Nacho Coronel, Macho Prieto.

13   Q     Where did the defendant stay during this period during

14   the conflict with the Beltran Leyvas?

15   A     Up in the mountains from one place to the next.

16   Q     Did you stay in the mountains with the defendant after

17   this conflict with the Beltran Leyvas started?

18   A     Yes, Miss.

19   Q     Now, were you aware of who was in charge of security down

20   in Culiacan?

21   A     Yes.

22   Q     How did you learn about that?

23   A     Well, Joaquin would talk to them.

24   Q     Who is them?

25   A     It was 50, Fantasma, and then Doc.        And Doc was the

                     GEORGETTE K. BETTS, RPR, FCRR, CCR
                          Official Court Reporter
Case 1:09-cr-00466-BMC-RLM Document 641 Filed 07/10/19 Page 78 of 142 PageID #:
                                   12965                               5084
                 ALEXANDER CIFUENTES - DIRECT - PARLOVECCHIO

1    person in charge of paying the police off.

2    Q     So were you present for those conversations?

3    A     Yes.

4    Q     Now, you've testified you had to go from one place to the

5    other once this conflict with the Beltran Leyvas started.           Did

6    you have an understanding about why that was necessary?

7    A     Yes, because of safety reasons.

8    Q     Did you hear the defendant give his secretaries any

9    instructions about what to do when the military was coming?

10   A     Yes.

11   Q     What did you hear him say?

12   A     Well, for example, to Compadre Toronjo, he would tell him

13   to wake us up only five minutes before -- I mean right after

14   he had seen the army, because he was so paranoid that he would

15   actually wake us up all the time.        And he also would say that

16   if as much as possible we should not shoot at the army, that

17   we should try to avoid them.

18   Q     Now, you mentioned the defendant gave instructions to

19   Toronjo and you said he was so paranoid.         When you said he was

20   so paranoid, who were you referring to?

21   A     Toronjo, because Toronjo would wake us up like 30 minutes

22   or 45 minutes before we even got an alert.         And so Joaquin

23   told him, well, you know, just call me five minutes before the

24   army is close and even if I'm naked, I'll just run away just

25   like that.

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                          Official Court Reporter
Case 1:09-cr-00466-BMC-RLM Document 641 Filed 07/10/19 Page 79 of 142 PageID #:
                                   12966                               5085
                 ALEXANDER CIFUENTES - DIRECT - PARLOVECCHIO

1    Q     Now, what would you do when the military helicopters

2    approached the defendant's ranch?

3    A     Well, since we had already been alerted, we would then go

4    away at a distance from houses or roadways.

5    Q     And if you moved to a different location, approximately

6    how long would you stay in the new location?

7    A     If there were no alerts, then we would switch every 20

8    days.   And every 20 days, the new guards who would be waiting

9    for us, they were new.      The previous guards did not know the

10   new location.

11   Q     Now how, if at all, did the war with the Beltran Leyvas

12   affect the defendant's business?

13   A     Financially, quite a bit and also with security.

14   Q     How so?

15   A     Well, very much so because the Beltran Leyvas were

16   financial partners.     They had a lot of money.       And they had

17   strategic locations to receive drugs as well as suppliers.

18   Q     Now, around this same time in 2008, did the defendant

19   have any conflicts with any other drug trafficking

20   organizations?

21   A     Yes.

22   Q     Which ones?

23   A     Well, in fact, Joaquin and the group, they already had an

24   open war with the Carrillo Fuentes' family.         And they were the

25   family that lived in Navolato, which was a city that was right

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                          Official Court Reporter
Case 1:09-cr-00466-BMC-RLM Document 641 Filed 07/10/19 Page 80 of 142 PageID #:
                                   12967                               5086
                 ALEXANDER CIFUENTES - DIRECT - PARLOVECCHIO

1    next to Culiacan.     So it was prohibited for us to go there.

2    Q     Any other groups?

3    A     And the criminal organization of the Zetas.

4    Q     Are you aware of any occasion when the military would

5    come to the mountains for reasons other than to capture the

6    defendant?

7    A     Yes, in Mexico there's a program that is carried out

8    every year, which is to irradicate marijuana and poppy.

9    Q     And what, if any, would the defendant have his men do if

10   he saw the military coming in to destroy marijuana or poppy?

11   A     Well, if it was a small group of about 25 men, he would

12   send an icebox with food and he would tell me them that that's

13   what there was in exchange for them not to cut the crops,

14   otherwise, they would have to face bullets.

15              MS. PARLOVECCHIO:      Your Honor, I think this is a

16   good time to stop.

17              THE COURT:    All right.    We'll take our lunch break,

18   ladies and gentlemen.

19              Please remember not to talk about the case.          We'll

20   see you back in here at 1:30.

21              Have a good lunch.

22              (Jury exits courtroom.)

23              THE COURT:    Okay.    Recess until 1:30.

24              (Luncheon recess.)

25

                     GEORGETTE K. BETTS, RPR, FCRR, CCR
                          Official Court Reporter
Case 1:09-cr-00466-BMC-RLM Document 641 Filed 07/10/19 Page 81 of 142 PageID #:
                                   12968                               5087
                      Cifuentes - direct - Parlovecchio

1                     A F T E R N O O N       S E S S I O N

2               (In open court; jury not present.)

3               (Defendant enters.)

4               (Witness takes the stand.)

5               THE COURTROOM DEPUTY:      All rise.

6               THE COURT:    All right.    Let's have the jury, please.

7               (Jury enters.)

8               THE COURT:    Everyone be seated.

9               Let's continue.

10              MS. PARLOVECCHIO:      Thank you, Your Honor.

11   DIRECT EXAMINATION

12   BY MS. PARLOVECCHIO: (Continued.)

13   Q     Now, Mr. Cifuentes, before the break, you testified about

14   somebody named Chinakate.

15   A     That's right.

16   Q     What color hair does Chinakate have?

17   A     It's reddish.

18   Q     Now, you testified earlier that you would see the

19   defendant meeting with business associates in the mountains.

20   Which business associates did you see the defendant meeting in

21   the mountains with when you were living there?

22   A     I saw Rey Zambada, Mayo Zambada's brother; Nacho Coronel;

23   Mr. Mayo Zambada; Vicente Zambada, his son.         I also saw

24   Mr. Eligio.

25   Q     Anyone else?

                           Denise Parisi, RPR, CRR
                           Official Court Reporter
Case 1:09-cr-00466-BMC-RLM Document 641 Filed 07/10/19 Page 82 of 142 PageID #:
                                   12969                               5088
                      Cifuentes - direct - Parlovecchio

1    A     Right at this moment, I can't remember more, but yes.

2    Virgo.

3    Q     You mentioned Virgo.     What is Virgo's role in the Sinaloa

4    Cartel?

5    A     He is a cousin of Joaquin's, an associate.

6    Q     Now, based on your observations, did you become aware of

7    who the defendant's closest associates were in the Sinaloa

8    Cartel?

9    A     Yes.

10   Q     How did you know?

11   A     Since I was living with Joaquin, they were the ones who

12   would come most often.

13   Q     Now, who were the defendant's closest associates in the

14   Sinaloa Cartel?

15                MR. LICHTMAN:   Objection.

16                THE COURT:   Overruled.

17   BY MS. PARLOVECCHIO:

18   Q     You may answer.

19   A     Mayo Zambada, Virgo, Vicente, Eligio, Macho Prieto.

20   Q     And of the defendant's associates that you observed, who

21   were the high-level members of the Sinaloa Cartel?

22   A     Mr. Joaquin Guzman Loera and Mayo Zambada.

23   Q     Now, were you allowed to sit in on all of the meetings

24   the defendant had with high-level members of the Sinaloa

25   Cartel, like Mayo Zambada?

                           Denise Parisi, RPR, CRR
                           Official Court Reporter
Case 1:09-cr-00466-BMC-RLM Document 641 Filed 07/10/19 Page 83 of 142 PageID #:
                                   12970                               5089
                      Cifuentes - direct - Parlovecchio

1    A     No.

2    Q     Why not?

3    A     If it wasn't a topic that had to do with me, I had no

4    reason to be sitting at the table with them.

5    Q     Now, have you met Mayo Zambada in person?

6    A     Yes.

7    Q     I'm going to show you what's in evidence as Government's

8    Exhibit 2-B.

9                 (The above-referred to exhibit was published.)

10   BY MS. PARLOVECCHIO:

11   Q     Who is depicted in this photograph?

12   A     Mr. Mayo Zambada.

13   Q     Approximately how tall is Mayo Zambada?

14   A     In meters, he's maybe 1.85.      He's tall.

15   Q     Is he taller or the same height as the defendant?

16   A     He's taller than Don Joaquin.

17   Q     And what kind of physical build does he have?

18   A     He has a belly.    He's fat.

19   Q     Now, have you ever noticed anything distinctive about

20   Mayo Zambada's nose?

21   A     Yes.

22   Q     What have you noticed?

23   A     Well, from consuming so much cocaine, his cartilage was

24   eroded and he was -- had surgery for it.

25   Q     Now, what relationship did the defendant have with Mayo

                           Denise Parisi, RPR, CRR
                           Official Court Reporter
Case 1:09-cr-00466-BMC-RLM Document 641 Filed 07/10/19 Page 84 of 142 PageID #:
                                   12971                               5090
                      Cifuentes - direct - Parlovecchio

1    Zambada?

2    A      He was his compadre and his partner.

3    Q      And when you say "partner," what do you mean?

4    A      Partners in everything at 50 percent.

5    Q      How do you know that?

6    A      From the mouth of Joaquin Guzman Loera.

7    Q      Now, you mentioned Vicente Zambada.       Where did you meet

8    him?

9    A      I met him in the mountains with his dad, El Mayo.

10   Q      I'm going to show you what's in evidence as Government's

11   Exhibit 101.

12                 (The above-referred to exhibit was published.)

13   BY MS. PARLOVECCHIO:

14   Q      Who is depicted in this photograph?

15   A      Vicente Zambada, the son of Mayo Zambada.

16   Q      Was Vicente Zambada involved in the drug business with

17   his father?

18   A      Yes.

19   Q      How do you know that?

20   A      He would go up and go to the business meetings with him.

21   Q      Now, you also mentioned Rey Zambada.       Who is Rey Zambada?

22   A      Rey Zambada is Mayo Zambada's brother.

23   Q      What, if anything, did Rey Zambada do for the Sinaloa

24   Cartel?

25   A      He was an associate, and his main base was -- and he was

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                            Official Court Reporter
Case 1:09-cr-00466-BMC-RLM Document 641 Filed 07/10/19 Page 85 of 142 PageID #:
                                   12972                               5091
                      Cifuentes - direct - Parlovecchio

1    based out of Mexico City.      He managed an airline and he had

2    contacts at the airport in Mexico City.

3    Q     Now, you also mentioned Nacho Coronel.        Who is Nacho

4    Coronel?

5    A     Nacho Coronel was the compadre of Mr. Joaquin.          He was

6    based out of Guadalajara.

7    Q     How many times did you see Nacho Coronel in the

8    mountains?

9    A     Mr. Nacho came up to the mountains at least two times to

10   see Don Joaquin.

11   Q     I'm going to show you what's in evidence as Government's

12   Exhibit 7.

13               (The above-referred to exhibit was published.)

14   BY MS. PARLOVECCHIO:

15   Q     Who is depicted in this photograph?

16   A     Mr. Nacho Coronel.

17   Q     Now, what happened on those two occasions when you saw

18   Nacho Coronel?

19   A     Well, Nacho -- Mr. Nacho Coronel, I remember they were

20   talking about business and he asked me if I would be able to

21   do him a favor of collecting payment for some cocaine in

22   Colombia.    Another topic was that he wanted to invest in

23   cocaine from Ecuador.

24   Q     Now, you testified about Damaso last week and you stated

25   that he was the defendant's secretary in 2002 when you first

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                           Official Court Reporter
Case 1:09-cr-00466-BMC-RLM Document 641 Filed 07/10/19 Page 86 of 142 PageID #:
                                   12973                               5092
                      Cifuentes - direct - Parlovecchio

1    met him.     Did Damaso's role with regard to the defendants

2    change over time?

3    A     Yes.

4    Q     How did it change?

5    A     It changed in the sense that he had more work.          He was an

6    operator by then.

7    Q     Now, you also testified about the defendant's associate

8    named Eligio.     Who is Eligio?

9    A     Eligio is Joaquin's compadre, very close to him, a very

10   good friend; and he's the person in charge of the heroin.

11   Q     Did you know what Eligio did for the defendant in regard

12   to heroin?

13   A     My understanding is that the gum was delivered to him and

14   he would process it into heroin.

15   Q     Now, did you know anyone else named Eligio who the

16   defendant dealt with in the drug business?

17   A     No, ma'am.

18   Q     I'm going to now play a clip for you.        I'm going to

19   direct your attention and the jury's attention to transcript

20   601I-9AT, and this will also be shown on your screens.            This

21   is going to start at paragraph 20 of the transcript and the

22   recording is at 601J-7B, and for the record, one minute

23   thirty seconds to three minutes and thirteen seconds.

24                THE COURT:   This is page 3 of the transcript, right?

25                MS. PARLOVECCHIO:    Yes.

                           Denise Parisi, RPR, CRR
                           Official Court Reporter
Case 1:09-cr-00466-BMC-RLM Document 641 Filed 07/10/19 Page 87 of 142 PageID #:
                                   12974                               5093
                      Cifuentes - direct - Parlovecchio

1                 (Audio played.)

2                 (Audio stopped.)

3    BY MS. PARLOVECCHIO:

4    Q     Mr. Cifuentes, did you recognize any of the speakers on

5    this call?

6    A     Yes.

7    Q     What speakers did you recognize?

8    A     Mr. Joaquin Guzman Loera.

9    Q     Now, I want to direct your attention to page 3,

10   paragraph 21 of the transcript.       The defendant says:      Well,

11   look here, we have to pay for the trip up and see about that

12   because Eligio sold it, he sold all that.         Eligio can keep

13   half of the money, and I can keep the other off because, uh, I

14   want to start paying him.

15                Based on your experience, who is the Eligio that the

16   defendant is referring to here?

17   A     Eligio, Don Joaquin's compadre.

18   Q     The compadre in the heroin business?

19   A     That's right.

20   Q     Now, I want to direct your attention now to paragraph 33

21   of the transcript where the defendant says:         Check with Eligio

22   because, uh, I want to pay him half.        If -- if he gets 2

23   kilos -- got two kilos through -- if he got 2 kilos through, I

24   want to pay Eligio for one and I will keep the other one for

25   my personal expenses.

                           Denise Parisi, RPR, CRR
                           Official Court Reporter
Case 1:09-cr-00466-BMC-RLM Document 641 Filed 07/10/19 Page 88 of 142 PageID #:
                                   12975                               5094
                      Cifuentes - direct - Parlovecchio

1               Based on your experience, what do you understand the

2    defendant to mean here?

3    A     That he wants to pay Mr. Eligio half of whatever he sold

4    for the sale of these kilos, and that the other half will go

5    towards the expenses that Don Joaquin has.

6    Q     Now, to your knowledge, who are the defendant's other

7    close associates besides Eligio who dealt with heroin

8    production?

9    A     Comandante Juan.

10   Q     What did Comandante Juan do with heroin for the

11   defendant?

12   A     When it was the season to collect the gum, he -- Don

13   Joaquin would send him to buy it because he would get a better

14   price than anyone else.

15   Q     Just to be clear, Comandante Juan, is he the same person

16   as Don Juan?

17   A     It's the same person, yes, ma'am.

18   Q     Now, who, if anyone, did the defendant have working for

19   him in Mexico City?

20   A     Yes, he also had Don Chuy who was in charge of an airline

21   in Mexico City.

22   Q     And you said Don Chuy was in charge of an airline in

23   Mexico City.    Whose airline was that?

24   A     Don Joaquin Guzman's.

25   Q     Now, you testified earlier that you stayed in the

                           Denise Parisi, RPR, CRR
                           Official Court Reporter
Case 1:09-cr-00466-BMC-RLM Document 641 Filed 07/10/19 Page 89 of 142 PageID #:
                                   12976                               5095
                      Cifuentes - direct - Parlovecchio

1    mountains with the defendant once his communications improved

2    until the spring of 2009.

3    A     That's right.

4    Q     Why did you stay in the mountains with the defendant for

5    so long?

6    A     Well, there were -- commitments were very many, and I had

7    to guarantee the money that was being invested by the

8    enterprise of the cartel in Colombia and Ecuador.

9    Q     Now, did you ever ask the defendant if you could leave

10   the mountains while you were living there?

11   A     On several occasions.

12   Q     What would happen when you would ask him about leaving?

13   A     He would deny the petition.

14   Q     Now, what was your understanding of what would happen if

15   you left without the defendant's permission?

16              MR. LICHTMAN:     Objection.

17              THE COURT:    Sustained.

18   BY MS. PARLOVECCHIO:

19   Q     Now, when you finally left in the spring of 2009, did you

20   have the defendant's permission, or did you go on your own?

21   A     He authorized me to.

22   Q     Where did you go?

23   A     I went to Cancun.

24   Q     Now, I want to take a step back and direct your attention

25   to 2008.

                           Denise Parisi, RPR, CRR
                           Official Court Reporter
Case 1:09-cr-00466-BMC-RLM Document 641 Filed 07/10/19 Page 90 of 142 PageID #:
                                   12977                               5096
                      Cifuentes - direct - Parlovecchio

1                 Did your brother Jorge do any business with the

2    defendant around that time?

3    A     Yes.

4    Q     What business?

5    A     There was a business for purchasing cocaine in Ecuador.

6    Q     And what was your role in these Ecuador cocaine

7    purchases?

8    A     My part was to do the sales of the drugs in New York and

9    Canada and send the money back to Ecuador.

10   Q     Now, what did your brother Jorge do to arrange these

11   cocaine loads in Ecuador?

12   A     He found a supplier and they started to do the production

13   of cocaine.

14   Q     Who is the supplier that Jorge located?

15   A     We called him Ajedrecista.

16   Q     Did he have any other nicknames?

17   A     Politico.

18   Q     Now, who, if anyone, aside from El Politico did Jorge

19   have working for him in Ecuador on these shipments?

20   A     Yes, my nephew Jaime Alberto Roll was there.

21   Q     I'm showing you what's in evidence as Government's

22   Exhibit 89.

23                (The above-referred to exhibit was published.)

24   BY MS. PARLOVECCHIO:

25   Q     Who is depicted in this photograph?

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                            Official Court Reporter
Case 1:09-cr-00466-BMC-RLM Document 641 Filed 07/10/19 Page 91 of 142 PageID #:
                                   12978                               5097
                      Cifuentes - direct - Parlovecchio

1    A     My nephew, Jaime Alberto.

2    Q     What was Jaime Alberto doing in Ecuador?

3    A     Jaime Alberto was in charge of the warehouse and of the

4    secret compartment where the drugs were.

5    Q     Just to be clear, what was this warehouse being used for?

6    A     To hide the drugs.

7    Q     Who, if anyone, did the defendant have working for him

8    directly in Ecuador?

9    A     Yes, there were several representatives on Joaquin's

10   behalf.   Tomas was the supervisor; his brother, Fran, was

11   another supervisor; and there was a group of boaters, and they

12   were led by Gabriel.

13   Q     Who, if anyone, was providing security for these cocaine

14   shipments in Ecuador?

15   A     The provider, that was Politico.       He would provide the

16   security with Captain Telmo Castro.        He was an active Army

17   captain in Ecuador -- with the Ecuadorian Army, and he had a

18   group of men at his service.

19   Q     What names did you use to refer to Telmo?

20   A     El Capi and El Carpintero.

21   Q     How much was the first cocaine shipment that you, Jorge,

22   and the defendant did from Ecuador?

23   A     Yes, the first shipment was 6,000 kilos.

24   Q     And how was this 6,000 kilos shipped?

25   A     By ship by sea through the Pacific Ocean.

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                           Official Court Reporter
Case 1:09-cr-00466-BMC-RLM Document 641 Filed 07/10/19 Page 92 of 142 PageID #:
                                   12979                               5098
                      Cifuentes - direct - Parlovecchio

1    Q     Now, you testified that you were responsible for sending

2    money down to Ecuador.      When you sent money down for the

3    cocaine, were you able to send it on your own, or did you have

4    to have permission?

5    A     It was out of Joaquin's orders, and since we were right

6    there together, then he would say if it would be accepted or

7    if it was actually going to be sent to a different place.

8    Q     Now, did you send the money all at once, or did you send

9    it in smaller payments?

10   A     In many parts.

11   Q     Now, was this first 6,000-kilogram shipment successful?

12   A     That's right.

13   Q     Do you know what happened to the cocaine in the

14   6,000-kilogram shipment?

15   A     Yes, ma'am.

16   Q     And how do you know?

17   A     I helped sell that cocaine here in New York.

18   Q     So what happened to the cocaine from the 6,000-kilogram

19   shipment?

20   A     It was sold.

21   Q     In New York?

22   A     In New York and Canada.

23   Q     Did you do another shipment of cocaine with the defendant

24   from Ecuador?

25   A     That's right.

                            Denise Parisi, RPR, CRR
                            Official Court Reporter
Case 1:09-cr-00466-BMC-RLM Document 641 Filed 07/10/19 Page 93 of 142 PageID #:
                                   12980                               5099
                      Cifuentes - direct - Parlovecchio

1    Q     What happened to the next shipment of cocaine from

2    Ecuador?

3    A     The next shipment was actually the same amount,

4    6,000 kilos, and it failed.

5    Q     When you say "it failed," what do you mean?

6    A     That it was seized by the American Coast Guard.

7    Q     Now, what, if anything, happened right before that boat

8    with the second shipment of 6,000 kilograms was seized?

9    A     Well, my brother didn't really agree for the boaters to

10   go out and load up the ship around those days because there

11   was a lot of surveillance by the Coast Guard; and Joaquin,

12   through his nephew, Frank, was reporting to him that that was

13   a lie, that there was no surveillance.        Joaquin said that he

14   would respond for that trip and that they should just get it

15   out any possible way.

16   Q     Now, how did you learn that the drugs had been seized?

17   A     I was with Joaquin.     We were waiting for the

18   communication for several days, and my brother kept asking me

19   to see if we had some news about that trip; and around the

20   sixth day, I actually discovered that on the Internet where it

21   said that the American Coast Guard had taken it because the

22   ship had broken down on international waters.

23   Q     How did the defendant react to this loss?

24   A     He was very quiet.

25   Q     Now, I just want to take a step back and talk about the

                           Denise Parisi, RPR, CRR
                           Official Court Reporter
Case 1:09-cr-00466-BMC-RLM Document 641 Filed 07/10/19 Page 94 of 142 PageID #:
                                   12981                               5100
                      Cifuentes - direct - Parlovecchio

1    cocaine from that first 6,000-kilo shipment that was

2    successful.

3    A     Yes.

4    Q     In addition to New York and Canada, did the cocaine from

5    that shipment go anywhere else in the U.S.?

6    A     Chicago, Los Angeles.

7    Q     Now, going back to Ecuador, were there any other

8    shipments after the second 6,000-kilogram shipment?

9    A     That's right.

10   Q     And what was this next shipment?

11   A     There was a third shipment of 8,000 kilos, and that one

12   was seized at the warehouse in Ecuador.

13   Q     How did you learn about this 8-ton seizure?

14   A     Well, that was international news, and also through my

15   brother.

16   Q     Can you please explain the circumstances that led to the

17   seizure of the 8 tons of cocaine in Ecuador?

18   A     Yes, of course.     Captain Telmo was already being followed

19   by the Army.     They followed him and they discovered some

20   drugs --

21                MR. LICHTMAN:   Judge, I'm going to object to this.

22                THE COURT:   Late.

23                MR. LICHTMAN:   Well, I had to hear the answer

24   before.

25                THE COURT:   It's sustained.

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                           Official Court Reporter
Case 1:09-cr-00466-BMC-RLM Document 641 Filed 07/10/19 Page 95 of 142 PageID #:
                                   12982                               5101
                      Cifuentes - direct - Parlovecchio

1    BY MS. PARLOVECCHIO:

2    Q     Did you learn about the circumstances that led to the

3    seizure of the cocaine in the warehouses in Ecuador?

4    A     Yes.

5    Q     From whom did you learn?

6    A     From my brother.

7    Q     What did your brother Jorge tell you about what led to

8    the seizure of the 8 tons of cocaine?

9                 MR. LICHTMAN:   Objection.

10                THE COURT:   That, I'm going to overrule.

11                Do you need a sidebar?

12                MR. LICHTMAN:   Sure.

13                (Sidebar.)

14                (Continued on next page.)

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                           Official Court Reporter
Case 1:09-cr-00466-BMC-RLM Document 641 Filed 07/10/19 Page 96 of 142 PageID #:
                                  12983                                5102
                             SIDEBAR CONFERENCE

1               (Sidebar conference held on the record out of the

2    hearing of the jury.)

3               THE COURT:    My first concern was that he was

4    testifying both based on what he read in the newspaper and

5    what he heard from hermano, but now it sounds like he's just

6    testifying to the latter, and I'm not seeing the problem with

7    that.

8               MR. LICHTMAN:     Well, he's testifying that Jorge told

9    him but Jorge wasn't there either, so we're not getting any

10   basis how Jorge has even found out about this.          Jorge is

11   learning this from another person -- hearsay upon hearsay upon

12   hearsay.   Jorge was not present when this seizure occurred, so

13   Jorge is getting it from another source, so we've got multiple

14   levels of hearsay here, and it's making it appear as if Jorge

15   is the one who told him directly because he was present and he

16   wasn't.

17              MS. PARLOVECCHIO:      Jorge was in Ecuador getting

18   updates from his coconspirators.       This is a coconspirator's

19   statement updating the witness on the status of the

20   conspiracy.    I think it's squarely within a coconspirator's

21   statement exception.

22              THE COURT:    But you're saying it's a three-chain

23   coconspirator exception.

24              MS. PARLOVECCHIO:      Right.   I mean, Jorge learned --

25              THE COURT:    Jorge wasn't there, right?

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                           Official Court Reporter
Case 1:09-cr-00466-BMC-RLM Document 641 Filed 07/10/19 Page 97 of 142 PageID #:
                                  12984                                5103
                             SIDEBAR CONFERENCE

1                MS. PARLOVECCHIO:     Jorge wasn't physically there,

2    but he was learning from his coconspirators down in Ecuador.

3                THE COURT:   Who was he learning from?

4                MS. PARLOVECCHIO:     Milton Martinez Gomez, who was

5    his top secretary --

6                THE COURT:   Can you bring that out?       Does this

7    witness know that?

8                MS. PARLOVECCHIO:     He doesn't know who Jorge learned

9    from, no.    Jorge testified about this a few weeks ago.

10               THE COURT:   No, I don't think so.

11               MS. PARLOVECCHIO:     Okay.   We'll move on.    That's

12   fine.

13               (Sidebar ends.)

14               (Continued on next page.)

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                           Official Court Reporter
Case 1:09-cr-00466-BMC-RLM Document 641 Filed 07/10/19 Page 98 of 142 PageID #:
                                   12985                               5104
                      Cifuentes - direct - Parlovecchio

1               (In open court.)

2    BY MS. PARLOVECCHIO:

3    Q     Mr. Cifuentes prior to the seizure of 10 tons of cocaine,

4    had Jorge said anything to you about this particular load?

5    A     Yes, of course.

6    Q     What did he say?

7    A     He asked me for the favor to get those drugs out of there

8    as soon as possible because he was worried about that, but

9    Joaquin kept demanding that it had to be the amount of tons

10   that he had requested, because what would the partners say if

11   that shipment was not complete?       And about eight days before,

12   I said, why -- please, could you just get that merchandise out

13   of there because I think we are going to lose it, and Joaquin

14   agreed, but it was already too late because a few days later,

15   the shipment was lost on land.

16   Q     What did the defendant do once this cocaine was also

17   seized?

18   A     Well, he asked my brother Jorge to turn in Politico, the

19   guy who had provided the drugs, so that he could kill him.

20   Q     So who could kill him?

21   A     For Joaquin to kill Politico.

22   Q     Did Jorge do that?

23   A     Jorge said no.

24              MR. LICHTMAN:     Objection.

25              THE COURT:    Overruled.

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                            Official Court Reporter
Case 1:09-cr-00466-BMC-RLM Document 641 Filed 07/10/19 Page 99 of 142 PageID #:
                                   12986                               5105
                      Cifuentes - direct - Parlovecchio

1    A      That if he wanted to kill someone, that he should kill

2    him.

3    Q      Kill who?

4    A      Jorge.

5    Q      And did you return to the mountains with the defendant

6    after this 8-ton seizure?

7    A      Sometime later, yes.

8    Q      After you returned to the mountains with the defendant,

9    did you suffer any consequences as a result of these losses in

10   Ecuador?

11                 MR. LICHTMAN:   Objection.   Leading.

12                 THE COURT:   I will allow it.

13   A      Yes.    The comandante wanted Joaquin to kill me.

14   Q      Did he do that?

15                 MR. LICHTMAN:   Objection.   Move to strike.

16                 THE COURT:   Sustained.

17                 Ask him what happened.

18   BY MS. PARLOVECCHIO:

19   Q      What happened?

20   A      Don Joaquin said no, that I was not to blame for that,

21   that that had been lost.

22   Q      Now, did your family do anything to make up for this loss

23   to the defendant?

24   A      That's right.

25   Q      What did they do?

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                             Official Court Reporter
Case 1:09-cr-00466-BMC-RLM Document 641 Filed 07/10/19 Page 100 of 142 PageID #:
                                    12987                              5106
                       Cifuentes - direct - Parlovecchio

1    A     Well, Jorge, my brother, told him that if he had to

2    respond for that, that he would respond with half and that if

3    he wanted to, he could take some of his properties on

4    consignment so that he could take that and, uh, fix that.

5    Q     Now, after these Ecuador losses, did anyone in your

6    family take steps in Colombia to help the defendant?

7    A     Yes.

8    Q     What did they do?

9    A     Jorge, he received some merchandise, some cocaine in

10   Bogota, which Joaquin had there, so that he would try to send

11   it through the airport to Mexico.

12   Q     Who would try to send it through the airport to Mexico?

13   A     My brother, Jorge.

14   Q     Did you do any drug business with the defendant's nephew,

15   Tomas, after these Ecuador losses?

16   A     Yes.

17   Q     I'm going to show you what's in evidence as Government's

18   Exhibit 606K.

19                (The above-referred to exhibit was published.)

20   BY MS. PARLOVECCHIO:

21   Q     Do you recognize this disk?

22   A     Yes.

23   Q     How do you recognize it?

24   A     I wrote down the date and the names.

25   Q     By the way, just to clarify, where you wrote the date

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Case 1:09-cr-00466-BMC-RLM Document 641 Filed 07/10/19 Page 101 of 142 PageID #:
                                    12988                              5107
                       Cifuentes - direct - Parlovecchio

1    here, did you write the day first or the month first?

2    A     First the day.

3    Q     So to be clear, what is the date here written on the

4    disk?

5    A     January 4th, 2019.

6    Q     Now, I want to direct your attention and the jury's

7    attention to transcript 606I-2AT.        This will be in your

8    transcripts only.

9                MS. PARLOVECCHIO:     And for the record, we will be

10   playing a recording from Government's Exhibit 606K from the

11   beginning to two minutes and five seconds.

12               (Audio played.)

13               (Audio stopped.)

14   Q     Mr. Cifuentes, did you recognize any of the speakers on

15   this call?

16   A     Yes, ma'am.

17   Q     Who did you recognize?

18   A     Tomas, Mr. Joaquin Guzman's nephew, and me.

19   Q     Just to be clear, on the transcript, when you heard

20   Tomas's voice, what was the name indicated on the transcript?

21   A     As Tomas.

22   Q     I'm going to direct your attention to paragraph 29 of the

23   transcript where you say:       Have you already talked to my

24   nephew?    And Tomas responds:     Not with your nephew.

25               Who are you referring to there?

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Case 1:09-cr-00466-BMC-RLM Document 641 Filed 07/10/19 Page 102 of 142 PageID #:
                                    12989                              5108
                       Cifuentes - direct - Parlovecchio

1    A     My nephew, Jaime Alberto Roll.

2    Q     Now we're going to play the rest of the clip, and the

3    second clip is from two minutes 53 seconds to the end, so

4    we're going to start at paragraph 49 of the transcript.

5                (Audio played.)

6                (Audio stopped.)

7    BY MS. PARLOVECCHIO:

8    Q     Mr. Cifuentes, I'm going to direct your attention to the

9    transcript, paragraph 49, where Tomas says:          We have to speed

10   up this game because this one in 15, 20, I -- once the deposit

11   is made, I'm going to -- the papers.         I also have to go 15, 20

12   days.    In about 20 days, we'll be about -- about to head over

13   there.

14               What did you understand Tomas to mean there?

15   A     He's saying that the land that he showed was very much

16   liked by the people; that once the deeds to the properties

17   were in the hands of the sellers of the cocaine in 15 to 20

18   days max, it would be in our own hands ready to be sent to

19   Mexico.

20   Q     Now, I wasn't to direct your attention to the latter

21   portion of the call, paragraph 64 of the transcript, where

22   Tomas says:    Okay.    Hey, let me ask you about the extension,

23   and the other one, about the equipment.         It isn't working at

24   the moment.

25               What did you understand Tomas to mean here?

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                            Official Court Reporter
Case 1:09-cr-00466-BMC-RLM Document 641 Filed 07/10/19 Page 103 of 142 PageID #:
                                    12990                              5109
                       Cifuentes - direct - Parlovecchio

1    A     Yes, that his extension, the one that we were working on

2    privately, was not working for him.

3    Q     And --

4    A     And so I told him I was going to call him to verify that

5    it wasn't working and I told him how he should dial.

6    Q     Just to be clear, is this the same extension system that

7    you testified about earlier?

8    A     Yes, the private communication system among us.

9    Q     Now, just to be clear, did you know that you were being

10   recorded when this call took place?

11   A     No.

12   Q     Did anything happen to Captain Telmo as a result of the

13   8-ton seizure?

14   A     Captain Telmo was arrested, yes.

15   Q     What, if anything, did the defendant do as a result of

16   Telmo's arrest?

17   A     We got him out of prison.

18   Q     Can you describe how -- actually, who is the "we" you're

19   referring to?

20   A     Between Joaquin and me.

21   Q     What did you and the defendant do to get Telmo out of

22   prison?

23   A     Well, I contacted Captain Telmo from prison through

24   BlackBerry.    He said that he needed $500,000 so he could -- so

25   that the judges could rule in his favor.         I convinced Joaquin

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                            Official Court Reporter
Case 1:09-cr-00466-BMC-RLM Document 641 Filed 07/10/19 Page 104 of 142 PageID #:
                                    12991                              5110
                       Cifuentes - direct - Parlovecchio

1    of doing that with a condition that he would remain at --

2    working exclusively with us.

3    Q     Who would be working exclusively with you?

4    A     Captain Telmo, and to provide the suppliers of the

5    cocaine.

6    Q     So how, if at all, did Telmo's role change after you and

7    the defendant had him bribed out of jail?

8    A     Yes, he no longer was just a person who was a lookout and

9    surveillance, but he also provided cocaine base.

10   Q     How do you know that?

11   A     I followed up with him.

12   Q     I'm going to direct your attention to approximately

13   mid-2012.

14                Was there a problem with the delivery of money to

15   Captain Telmo?

16   A     Yes.

17   Q     What happened?

18   A     A small plane was sent to Ecuador and it crashed with

19   some money.

20   Q     How much?

21   A     Joaquin told me it was $5 million, and two pilots died.

22   Q     Whose money was it?

23   A     Joaquin Guzman Loera's.

24   Q     Now, what was the purpose of sending $5 million to

25   Ecuador?

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                            Official Court Reporter
Case 1:09-cr-00466-BMC-RLM Document 641 Filed 07/10/19 Page 105 of 142 PageID #:
                                    12992                              5111
                       Cifuentes - direct - Parlovecchio

1    A     To buy cocaine.

2    Q     What, if any, other problems was the defendant having

3    with Telmo in 2012?

4    A     There were inconsistencies in receiving money with Telmo.

5    In other words, he didn't want to acknowledge initially some

6    money that had been sent to him.        There was also a problem

7    with one of Joaquin's men who was murdered in Ecuador, and

8    also an Ecuadorian man had been murdered.         Telmo would say

9    that was on behalf of Joaquin.

10   Q     You testified that you worked for the defendant in

11   setting up cocaine deals in Canada.        When did you start

12   working on cocaine shipments to Canada with the defendant?

13   A     Since 2008.

14   Q     How long did you sell cocaine in Canada for the

15   defendant?

16   A     Since 2008 it was not constant, but here and there, the

17   shipments would go there.

18   Q     How did you get started working with the defendant

19   sending cocaine to Canada?

20   A     Well, I had a friend who was Colombian-Canadian and he

21   had clients there.

22               (Continued on the following page.)

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                            Official Court Reporter
Case 1:09-cr-00466-BMC-RLM Document 641 Filed 07/10/19 Page 106 of 142 PageID #:
                                    12993                              5112
                       Cifuentes - direct - Parlovecchio

1                 (In open court.)

2    DIRECT EXAMINATION

3    BY MS. PARLOVECCHIO (continuing):

4    Q     When you sent cocaine to Canada did it go through or stop

5    in the United States?

6    A     Yes.

7    Q     In what cities did the cocaine stop in the U.S.?

8    A     It would stop in Los Angeles and in Phoenix.

9    Q     What were your responsibilities in selling cocaine in

10   Canada for the defendant?

11   A     Well, I had to coordinate the numbers of the drivers who

12   would arrive in Los Angeles.       That initially, and afterwards

13   the sales of the drugs in Canada, to collect the money and

14   spend it where Joaquin would ask me to do so or Licenciado

15   Damaso Lopez Nunez, the secretary.

16   Q     Did the defendant sell any other drugs in Canada?

17   A     Yes.

18   Q     Which drugs?

19   A     Cocaine, heroin and ice.

20   Q     Now, based on your experience bringing the drug money

21   back from Canada, approximately how much money did the

22   defendant make in drug sales in Canada while you were working

23   with him?

24   A     Dozens of millions.

25   Q     Now, who was with you on the cocaine shipments to Canada

              MICHELE NARDONE, CSR -- Official Court Reporter
Case 1:09-cr-00466-BMC-RLM Document 641 Filed 07/10/19 Page 107 of 142 PageID #:
                                    12994                              5113
                       Cifuentes - direct - Parlovecchio

1    in 2008?

2    A     I would coordinate with Licenciado Damaso Lopez Nunez.

3    Q     Anyone else in Canada?

4    A     Yes, of course.     Yes, there was the Italian mafia,

5    Mr. Tony Antonio, Tony Suzuki.

6    Q     Did you have any workers in Canada during this period?

7    A     Yes.

8    Q     Who was that?

9    A     Steven Tello.

10   Q     Did Steven Tello ever come to Mexico?

11   A     Yes.

12   Q     Where in Mexico?

13   A     He came several times.      He went to Cancun, he went to

14   Los Cabos.     I also had a meeting with him in Puerto Vallarta.

15   Q     Did he ever come to Culiacan?

16   A     Yes.

17   Q     What were some of the methods you were using to ship

18   drugs to Canada at this time?

19   A     Trailers, also by helicopter, and over the Pacific Ocean

20   to Vancouver.

21   Q     Were there any other methods that you planned to use?

22                MR. LICHTMAN:   Objection.

23                THE COURT:   Overruled.

24   A     Yes.    Yes, we had another idea of crossing drugs over

25   Lake Vermont.

              MICHELE NARDONE, CSR -- Official Court Reporter
Case 1:09-cr-00466-BMC-RLM Document 641 Filed 07/10/19 Page 108 of 142 PageID #:
                                    12995                              5114
                       Cifuentes - direct - Parlovecchio

1    Q     Now, when you say you were going to cross drugs over the

2    lake, what was the technique you were going to use?

3    A     Well, the idea was to rent houses on the U.S. side and on

4    the Canadian side.      They would have to have a dock for boats.

5    That would make it easy to take the drugs from one side to the

6    other, take the drugs there on one side and then bring the

7    money back on the other side.

8    Q     Mr. Cifuentes, do you know someone named Proceso?

9    A     Yes.    He is a compadre of Mr. Joaquin.

10   Q     What, if anything, did Proceso do with the defendant in

11   regards to the drug business?

12   A     I remember seeing him up in the mountains when it was the

13   season for harvesting marijuana.

14   Q     I'm going to play another recording for you.

15                MS. PARLOVECCHIO:    I'm going to direct the jury's

16   attention and your attention to transcript 601I-3T; and this

17   will also appear on your screen, ladies and gentlemen.

18                For the record, we will be playing Government's

19   Exhibit 601J-2A from the beginning to 21 seconds.

20                (Recording played.)

21   Q     Mr. Cifuentes, did you recognize any of the speakers on

22   that clip?

23   A     Yes.

24   Q     Who did you recognize?

25   A     Condor, the secretary, and Compadre Proceso.

              MICHELE NARDONE, CSR -- Official Court Reporter
Case 1:09-cr-00466-BMC-RLM Document 641 Filed 07/10/19 Page 109 of 142 PageID #:
                                    12996                              5115
                       Cifuentes - direct - Parlovecchio

1    Q     Just to be clear, on the transcript, when you heard

2    Condor's voice, what was the name that appeared on the

3    transcript?

4    A     Condor.

5    Q     Now, we are going to continue playing this call and from

6    33 seconds to two minutes.

7                (Recording played.)

8    Q     Mr. Cifuentes, did you recognize any of the speakers on

9    this clip?

10   A     Yes, ma'am.

11   Q     Whose voices did you recognize?

12   A     Mr. Joaquin Guzman Loera and his compadre, Proceso.

13   Q     Based on your review of this call, what is your

14   understanding about what the defendant and Proceso were

15   speaking about?

16   A     Finding some ranches on the U.S. side and on the Canadian

17   side in an area that's isolated, with nothing nearby.

18   Q     I'm going to direct your attention to paragraph 19 of the

19   transcript, where the defendant says, A small ranch in a

20   desolate area to, to cross, compadre, to cross over to, to

21   Canada.

22               What do you understand the defendant to mean here?

23   A     Well, it's as clear as it says so there, a ranch to cross

24   drugs over to Canada.

25   Q     In paragraph 23 of the transcript, where the defendant

               MICHELE NARDONE, CSR -- Official Court Reporter
Case 1:09-cr-00466-BMC-RLM Document 641 Filed 07/10/19 Page 110 of 142 PageID #:
                                    12997                              5116
                       Cifuentes - direct - Parlovecchio

1    says, Tell him to go to Los Angeles so they can give the guy

2    some money in Los Angeles, what is the defendant discussing

3    here?

4    A     Well, to tell the guy to pick up for expenses of the

5    Los Angeles office.

6    Q     Based on your experience doing drug shipments to Canada,

7    what did you know the defendant to have in Los Angeles?

8    A     Customers.

9    Q     Anything else?

10   A     It was one of his bases for the sale of drugs.

11   Q     Now, I'm going to direct your attention to paragraph 27.

12   When the defendant says, Both should be right next to each

13   other so we can jump from one property to the other one, based

14   on your experience, what does this refer to?

15               MR. LICHTMAN:    Object, based on his experience.

16               THE COURT:    No, overruled.

17   A     For the ranches to be close to each other so they can go

18   easily from one side to the next.

19   Q     One side to the next of what?

20   A     From the American and Canadian side.

21   Q     Now, we are going to play the rest of the call from two

22   minutes to the end.

23               MS. PARLOVECCHIO:     Then, for those of you following

24   the transcript, it's paragraph 28 to the end.

25               (Recording played.)

              MICHELE NARDONE, CSR -- Official Court Reporter
Case 1:09-cr-00466-BMC-RLM Document 641 Filed 07/10/19 Page 111 of 142 PageID #:
                                    12998                              5117
                       Cifuentes - direct - Parlovecchio

1    Q     Mr. Cifuentes, I'm going to direct your attention to

2    paragraph 30 of the transcript, where Proceso says, There was

3    boludito.

4                What do you understand boludito to mean in this

5    conversation?

6    A     It's a small helicopter.

7    Q     And I'm going to direct your attention to paragraph 35 of

8    the transcript, where the defendant says, But it has to be a

9    small boludillo, the, the ones that can, they can only handle

10   up to 100 kilos, it has to be a small one.

11               What do you understand that to mean?

12   A     That a small helicopter was needed so that it would load

13   up as much as 100 kilos.

14   Q     You testified earlier that you assisted the defendant in

15   selling ice, or methamphetamines.

16               What were your responsibilities with regard to the

17   defendant's ice trafficking?

18   A     I was part of that matter in several stages, starting

19   with getting him ephedrine in Colombia, trying to find a

20   reactor with Captain Telmo Castro in Ecuador, and trying to

21   get him some sort of recipes or formulae so that they could

22   actually manufacture the ice with a friend of Captain Telmo's,

23   Chino --

24               THE INTERPRETER:     Actually -- interpreter

25   correction -- somebody from Asia?

              MICHELE NARDONE, CSR -- Official Court Reporter
Case 1:09-cr-00466-BMC-RLM Document 641 Filed 07/10/19 Page 112 of 142 PageID #:
                                    12999                              5118
                       Cifuentes - direct - Parlovecchio

1    A       -- and also for me to get some sort of recipes in Mexico

2    City through my friend Andrea.

3    Q     Recipes for what?

4    A     To manufacture ice, and finally I helped him sell ice in

5    Canada.

6    Q     So what does it mean to obtain formulas for ice?

7    A     Well, in order for you to process ice you need different

8    formulae, and they could either -- they are different.           They

9    could either be in powder or gas formulas or even as liquid.

10   Q     What is the base product for ice?

11   A     As far as I understand, it's ephedrine.

12   Q     What is the container called in which ephedrine typically

13   comes?

14   A     In containers.

15   Q     What is the name in Spanish?

16   A     Cubeta or tambo, drums or barrels.

17   Q     Just to be clear who, if anyone, was assisting you in

18   obtaining these formulas for ice?

19   A     Yes.   My friend Andrea was helping me find them in Mexico

20   City.    And the person I just mentioned, an Asian man, he came

21   to Mexico; and I introduced him to Mr. Joaquin Guzman in

22   Los Cabos San Lucas so that he could help him with that issue.

23   Q     Now, during this meeting between the defendant and the

24   Asian man and yourself in Cabo San Lucas, did the defendant

25   request any particular chemical?

               MICHELE NARDONE, CSR -- Official Court Reporter
Case 1:09-cr-00466-BMC-RLM Document 641 Filed 07/10/19 Page 113 of 142 PageID #:
                                    13000                              5119
                       Cifuentes - direct - Parlovecchio

1    A      Yes.

2    Q      What chemical is that?

3    A      There was one that was called monothylamine (phonetic).

4    Q      Did the defendant describe the significance of this

5    particular chemical, monothylamine?

6    A      Yes.    That causes anxiety to addicts.

7    Q      What is that anxiety to addicts supposed to do?

8    A      They make them -- it makes them confused more.

9    Q      Now, you testified that Andrea Velez was assisting you

10   obtain formulas in Mexico City.

11   A      That's right.

12   Q      How did you communicate about that with Andrea Velez?

13   A      Through the Blackberry.

14   Q      Any other ways?

15   A      And through iPhones.

16                 MS. PARLOVECCHIO:   Now I'm going to direct the jury

17   and the witness' attention to transcript 603D, as in David,

18   17T.    I'm going to play an audio clip from Government's

19   Exhibit 603E-17.      I'm going to just play from time stamp zero

20   to 24 seconds.

21                 (Recording played.)

22   Q      Mr. Cifuentes, do you recognize who is speaking in this

23   conversation?

24   A      Yes.

25   Q      Who is speaking in this conversation?

              MICHELE NARDONE, CSR -- Official Court Reporter
Case 1:09-cr-00466-BMC-RLM Document 641 Filed 07/10/19 Page 114 of 142 PageID #:
                                    13001                              5120
                       Cifuentes - direct - Parlovecchio

1    A     My secretary Andrea and me.

2    Q     Now, I want to direct your attention to paragraph four of

3    the transcript, where you say, Do you have the prescriptions

4    written down somewhere there, uh, which we had requested for,

5    for the one having to do with the Chinese?

6    A     Yes.

7    Q     What are you referring to there?

8    A     I'm referring to the recipes that I had written down that

9    Joaquin had requested, because I had either lost them or I

10   actually tore them up; and I asked her for them again so that

11   would happen.

12                MS. PARLOVECCHIO:    Now I'm going to play the rest of

13   this call, starting from one minute seven seconds to the end;

14   and in your transcripts it's paragraph ten.

15                (Recording played.)

16   Q     Generally what are you and Andrea discussing in this

17   portion of the call?

18   A     For her to send me the recipes, and I was writing them

19   own as she is dictating them for me.         And then she said that

20   she would rather just e-mail them to me, and I said yes.

21   Q     I want to direct your attention to paragraph 15 of this

22   transcript, where you say, Fine, so you don't, don't have the

23   main ones I have given you, the, the methylamine?

24                What are you saying here?

25   A     Exactly what it says, if she didn't have the main ones

              MICHELE NARDONE, CSR -- Official Court Reporter
Case 1:09-cr-00466-BMC-RLM Document 641 Filed 07/10/19 Page 115 of 142 PageID #:
                                    13002                              5121
                       Cifuentes - direct - Parlovecchio

1    right there in her own hands, the methylamine.

2    Q     What is methylamine?

3    A     One of the main recipes that are used to manufacture ice.

4    Q     Now, did you ever hear the defendant discuss how ice or

5    methamphetamine is made?

6    A     The only thing that I know is that that is made inside of

7    a reactor under controlled oxygen.

8                MS. PARLOVECCHIO:     Now, Your Honor, if you want to

9    stop to take the afternoon break this might be a good point.

10               THE COURT:    Okay.   We will do that.

11               Please don't talk about the case, ladies and

12   gentlemen.    We will see you at 3:15.

13               (Jury exits.)

14               (Continued on the next page.)

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              MICHELE NARDONE, CSR -- Official Court Reporter
Case 1:09-cr-00466-BMC-RLM Document 641 Filed 07/10/19 Page 116 of 142 PageID #:
                                    13003                              5122
                       Cifuentes - direct - Parlovecchio

1                THE COURT:    How is your timing, Ms. Parlovecchio?

2                MS. PARLOVECCHIO:     I don't think we will finish by

3    the end of the day, but we are very close.          We think we might

4    spill over just a little bit in the morning.

5                THE COURT:    All right.    3:15.

6                (Recess.)

7                THE CLERK:    All rise.

8                THE COURT:    Let's have the jury, please.

9                (Continued on the next page.)

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              MICHELE NARDONE, CSR -- Official Court Reporter
Case 1:09-cr-00466-BMC-RLM Document 641 Filed 07/10/19 Page 117 of 142 PageID #:
                                    13004                              5123
                       Cifuentes - direct - Parlovecchio

1                (Jury enters.)

2                THE COURT:    All right.    Be seated, please.     Please

3    continue, Ms. Parlovecchio.

4                MS. PARLOVECCHIO:     Thank you, Your Honor.

5    BY MS. PARLOVECCHIO:

6    Q     So, Mr. Cifuentes, I'm going to direct your attention to

7    a transcript --

8                MS. PARLOVECCHIO:     And for the ladies and gentlemen

9    of the jury, Government's Exhibit 601F, as in frank, 9LT.

10   Q     I'm going to play a recording for you from Government's

11   Exhibit 601J-8B, and we are going to be starting from

12   paragraph ten in the transcript, and the time stamp is 44

13   seconds to four minutes.       It's also on your screen.

14               (Recording played.)

15               MS. PARLOVECCHIO:     That's actually the wrong one.

16   There we go.     Thank you.

17               (Recording played.)

18   Q     Mr. Cifuentes, did you recognize any of the speakers on

19   that call?

20   A     Yes, certainly.

21   Q     Who did you recognize?

22   A     Mr. Joaquin Guzman Loera and Virgo, his cousin.

23   Q     How did you recognize Virgo's voice?

24   A     Well, that's easy.      He speaks very fast.

25   Q     While you were living with the defendant and working with

              MICHELE NARDONE, CSR -- Official Court Reporter
Case 1:09-cr-00466-BMC-RLM Document 641 Filed 07/10/19 Page 118 of 142 PageID #:
                                    13005                              5124
                       Cifuentes - direct - Parlovecchio

1    the defendant, had you spoken to Virgo on the phone and face

2    to face?

3    A     That's right.

4    Q     I'm going to direct your attention to the transcript --

5    or I'm sorry -- taking a step back.

6                Generally, what are the defendant and Virgo speaking

7    about on this call?

8    A     Well, most of all, they are talking about a product that

9    they are using to make the ice, that it's not being -- giving

10   the output that, the yield that they are expecting, and that

11   consumers are complaining because it gives them a headache and

12   it does not have the effect that it should have.          They refer

13   to that powder, the monothylamine.

14   Q     Where do they refer to that in the transcript?

15   A     On paragraph 29.

16   Q     So let's look at paragraph 29.       Where Virgo says, He says

17   there is another substance that he has, the same effect as the

18   mono, what do you understand Virgo to mean here?

19   A     That there is another product that has the same effect as

20   monothylamine.

21   Q     Now, you testified earlier that you were involved in

22   sending drugs to New York.

23   A     That's right.

24   Q     Whose drugs did you send to New York?

25   A     Joaquin Guzman Loera.

              MICHELE NARDONE, CSR -- Official Court Reporter
Case 1:09-cr-00466-BMC-RLM Document 641 Filed 07/10/19 Page 119 of 142 PageID #:
                                    13006                              5125
                       Cifuentes - direct - Parlovecchio

1    Q      When you were selling drugs in New York -- when were you

2    selling drugs in New York for the defendant?

3    A      Since 2008.

4    Q      Approximately how long did you do that?

5    A      Until 2010.

6    Q      Approximately how often would you send drugs to New York

7    on the defendant's behalf?

8    A      It was shipments every eight or fifteen days.         It wasn't

9    regular.

10   Q      Who sold -- what drugs did you sell in New York for the

11   defendant?

12   A      Cocaine and heroin.

13   Q      Who sold the drugs for you and the defendant in New York?

14   A      There were some Dominican guys that were introduced to me

15   by my brother.     He introduced them to Joaquin and to me in the

16   mountains.

17   Q      What were their names?

18   A      One of them was named Antonio, or Tono; and the other one

19   was La Serie.

20   Q      Did you ever meet Antonio, or Tono, as you referred to

21   him?

22   A      Yes, ma'am.

23   Q      Where did you meet him?

24   A      In the mountains.

25   Q      Just can you describe Tono?

              MICHELE NARDONE, CSR -- Official Court Reporter
Case 1:09-cr-00466-BMC-RLM Document 641 Filed 07/10/19 Page 120 of 142 PageID #:
                                    13007                              5126
                       Cifuentes - direct - Parlovecchio

1    A     Yes.    Antonio is a man who wears glasses, not too tall,

2    he has a little bit of a belly.

3    Q     Approximately when did the meeting between Tono and the

4    defendant take place?

5    A     That was -- I think it was towards the end of 2007, in

6    the mountains in Sinaloa.

7    Q     What did you, Tono, and the defendant discuss at this

8    meeting in the mountains in Sinaloa?

9    A     Well, we talked about how much Tono could move in a week,

10   meaning how much cocaine.       The price, I remember it was

11   $40,000 a kilo.     They also spoke about heroin.       They wanted --

12   he wanted white heroin; and they discussed a price of $44,000

13   per kilo.

14                It was also discussed that the currency should be of

15   high denominations, hundred dollar bills, 50s, 20-dollar bills

16   but not very many, and that was the minimum.          There was going

17   to be a fixed price per week.       If the price went up, one

18   person would lose, and, if it went down, the other one would

19   lose; but that price would be fixed.

20   Q     I want to take you back.      You mentioned one of the drugs

21   would being 40,000 per kilo.

22                What drug were you referring to?

23   A     The cocaine.

24   Q     Now, you mentioned La Serie.

25                Did you ever meet La Serie?

              MICHELE NARDONE, CSR -- Official Court Reporter
Case 1:09-cr-00466-BMC-RLM Document 641 Filed 07/10/19 Page 121 of 142 PageID #:
                                    13008                              5127
                       Cifuentes - direct - Parlovecchio

1    A     Yes.    I knew La Serie from before already, and he came up

2    to the mountains as well and I introduced him in person to

3    Mr. Joaquin.

4    Q     Approximately when was that?

5    A     Not too long after Antonio had gone.

6    Q     What did the defendant discuss with La Serie?

7    A     The topic was practically the same, with the difference

8    that La Serie -- that the money that he earned, he wanted to

9    invest it with us in Ecuador to have a better profit.

10   Q     Who from the defendant's drug organization coordinated

11   the shipments to New York?

12   A     Damaso Lopez Nunez.

13   Q     What was your role in these New York shipments?

14   A     To be on the lookout, 48 hours before the shipment

15   reached New York, to have the numbers, to coordinate the

16   people who were going to pick up the drugs over here.           So they

17   would pick up the car and would eventually sell the drugs.

18   Then pick up the money.

19   Q     Now, you mentioned that one of your responsibilities was

20   to coordinate the numbers.

21                When you would pass those numbers to Damaso, what,

22   if any, code would you use?

23   A     Yes.    We would send it in a code tango alpha.

24   Q     What was the purpose of using this tango alpha code?

25   A     It's -- they were numbers that were codified so that no

              MICHELE NARDONE, CSR -- Official Court Reporter
Case 1:09-cr-00466-BMC-RLM Document 641 Filed 07/10/19 Page 122 of 142 PageID #:
                                    13009                              5128
                       Cifuentes - direct - Parlovecchio

1    one could know what numbers they were.         Just the two of us

2    would.

3    Q     Now, what was the pricing for heroin in New York City

4    when you were sending it there for the defendant?

5    A     $44,000.

6    Q     What size generally were these New York City heroin

7    shipments?

8    A     Heroin?    It would be like 20 kilos at a time.

9    Q     And you testified that the price of cocaine in New York

10   City around this time was 40,000 per kilo; is that right?

11   A     That's correct.

12   Q     What size were the cocaine shipments that you were

13   sending to New York?

14   A     Fifty kilos.

15   Q     Where did you get the cocaine that you sold in New York

16   City around the 2008, 2009 time period?

17   A     Joaquin would send me it.

18   Q     What was the source of that cocaine?

19   A     It was the cocaine coming from Colombia and from Ecuador.

20   Q     The shipments that you testified about earlier?

21   A     That's right.

22   Q     What was the transportation used for the defendant's

23   drugs that you were sending to New York?

24   A     It was automobile or trucks.

25   Q     Were there any problems with the vehicles you were

              MICHELE NARDONE, CSR -- Official Court Reporter
Case 1:09-cr-00466-BMC-RLM Document 641 Filed 07/10/19 Page 123 of 142 PageID #:
                                    13010                              5129
                       Cifuentes - direct - Parlovecchio

1    sending to New York?

2    A      Yes.

3    Q      Can you describe what happened?

4    A      Yes.    I remember one time that Damaso sent an automobile.

5    When it was delivered to Tono's people, they could not find

6    the trap.      And we had to call and ask where it was; and then

7    he explained it, and it was an electronic trap that that car

8    had.

9    Q      Now, did there come a time when the defendant tried to

10   move cocaine with Tono through means other than cars?

11   A      Yes, ma'am.

12   Q      Can you explain to the jury the plan that Tono and the

13   defendant had to move cocaine in a way using something other

14   than cars?

15   A      Yes, of course.    Joaquin was needing a landing strip in

16   the Dominican Republic so he could use it as a springboard to

17   go to Mexico from Venezuela.

18   Q      Did you ever speak with Tono on the phone?

19   A      Of course I did, very often.

20   Q      Based on those conversations, did you become familiar

21   with his voice?

22   A      Yes, ma'am.

23   Q      I'm going to show you what's marked for identification as

24   Government's Exhibit 607B, as in boy.

25                 What are we looking at here?

              MICHELE NARDONE, CSR -- Official Court Reporter
Case 1:09-cr-00466-BMC-RLM Document 641 Filed 07/10/19 Page 124 of 142 PageID #:
                                    13011                              5130
                       Cifuentes - direct - Parlovecchio

1    A     My initials, the day, the month, and the year.

2    Q     What's on the disk?

3    A     On a disk, a CD, yes.

4    Q     Did you have an opportunity to review the contents of

5    this disk before coming to court today?

6    A     Yes, that's correct, ma'am.

7    Q     What is contained on this disk?

8    A     It contains a recording of Joaquin Guzman Loera and Tono.

9                 MS. PARLOVECCHIO:    The government moves to admit

10   Government Exhibit 607B, as in boy.

11                MR. LICHTMAN:   No objection.

12                THE COURT:   Received.

13                (Government Exhibit 607B, was received in evidence.)

14   Q     I'm going to play a recording from this disk, but before

15   I do:   Can you tell the jury where Tono was from originally?

16   A     Yes.    Tono was originally from the Dominican Republic.

17                MS. PARLOVECCHIO:    Now, I'm going to direct everyone

18   to the transcript at 607A-T.       This call will also appear on

19   your screens, ladies and gentlemen.

20                We are going to play the call, 607B, from the

21   beginning to one minute and 29 seconds.

22                (Recording played.)

23   Q     Mr. Cifuentes, I'm going to direct your attention to the

24   transcript and -- actually, before we do that.

25                Generally what are Tono -- do you recognize the

              MICHELE NARDONE, CSR -- Official Court Reporter
Case 1:09-cr-00466-BMC-RLM Document 641 Filed 07/10/19 Page 125 of 142 PageID #:
                                    13012                              5131
                       Cifuentes - direct - Parlovecchio

1    speakers on this call?

2    A     Yes, yes, of course.

3    Q     Who are the speakers that you recognize on this call?

4    A     Mr. Joaquin Guzman Loera and Antonio.

5    Q     Generally, what are the defendant and Tono speaking about

6    on this portion of the call?

7    A     That he needs for him to find a small ranch with an air

8    strip.

9    Q     Who needs to find who to find a ranch with an air strip?

10   A     Joaquin Guzman Loera is asking that from Antonio.

11               (Continued on the next page.)

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              MICHELE NARDONE, CSR -- Official Court Reporter
Case 1:09-cr-00466-BMC-RLM Document 641 Filed 07/10/19 Page 126 of 142 PageID #:
                                    13013                              5132
                  ALEXANDER CIFUENTES - DIRECT - PARLOVECCHIO

1    BY MS. PARLOVECCHIO:

2    Q     I want to direct your attention to paragraph 15 of the

3    transcript.     The defendant says, My friend, we want for you to

4    help us find a little place for the furniture to arrive.

5                 What do you understand the defendant to mean by

6    furniture in this passage?

7    A     Furniture means plane.

8    Q     Then he says, And from there, from there it needs to get

9    moved over there to Locos.       What do you understand him to mean

10   by Locos?

11   A     Venezuela because of the Loco Chavez.

12   Q     What do you mean by Loco Chavez?

13   A     The former president of Venezuela, we would call him Loco

14   Chavez, Crazy Chavez.

15   Q     Now paragraph 16, Tono says, Oh, yes, I'm already on that

16   Mr -- Mr. Pinchito told me and I'm looking into that.

17                What do you understand Tono to be saying there?

18   A     Tono is confirming with him that I had already told him

19   that.

20   Q     Confirming with the defendant?

21   A     Yes.    What my Godfather had asked me to do I had already

22   relayed that to Antonio.

23   Q     Now let's play the rest of the call.

24                (Audiotape played.)

25                (Audiotape stopped.)

                      GEORGETTE K. BETTS, RPR, FCRR, CCR
                           Official Court Reporter
Case 1:09-cr-00466-BMC-RLM Document 641 Filed 07/10/19 Page 127 of 142 PageID #:
                                    13014                              5133
                  ALEXANDER CIFUENTES - DIRECT - PARLOVECCHIO

1    Q     Mr. Cifuentes, what generally are the defendant and Tono

2    discussing at this portion of the call?

3    A     Yes, like I said previously, Joaquin needed an airstrip

4    in the Dominican Republic in order to start working from

5    Venezuela to Mexico and --

6    Q     Now - sorry, go ahead.

7    A     Well, you know, Tono was a little like trying to avoid

8    the issue and he told him that he was going to get back to him

9    with an answer very soon.       And then in addition to that, he

10   suggested another business deal saying that he had a friend

11   who had absolute control of drug purchasing in Panama.

12   Q     I want to direct your attention to the transcript

13   paragraph 37, where the defendant refers to Panchito's land.

14   Who do you understand him to mean there?

15   A     He refers to Colombia, my native land.

16   Q     And directing your attention now to paragraph 42, Tono

17   responds, No, he is from where Panchito is from, he is living

18   there.

19               What do you understand that to be a reference to?

20   A     That the person who lives in Panama is of Colombian

21   nationality.

22   Q     And just going back to 37 when the defendant says, What

23   does this friend handle?       Does he bring -- bring things from

24   Panchito's land?

25               What are the things that the defendant is referring

                      GEORGETTE K. BETTS, RPR, FCRR, CCR
                           Official Court Reporter
Case 1:09-cr-00466-BMC-RLM Document 641 Filed 07/10/19 Page 128 of 142 PageID #:
                                    13015                              5134
                  ALEXANDER CIFUENTES - DIRECT - PARLOVECCHIO

1    to here?

2    A     Cocaine.

3    Q     Now turning to paragraph 48 of the transcript, Tono says,

4    and send me the other thing up there, up there because I need

5    it.   I have the people over there waiting.

6                What do you understand Tono to mean there?

7    A     Well, Tono is asking him for kilos of cocaine in New York

8    because he had the people waiting here without any work.

9    Q     Now, directing your attention to paragraph 50 of the

10   transcript, Tono says, Send me 50 of the ones that you have

11   always sent, 50, I mean a hundred, 200, 200, whatever you can

12   send me.

13               What do you understand Tono to mean there?

14   A     He's asking for cocaine from him.

15   Q     And the numbers, what do they relate to?

16   A     The amount of kilos.

17   Q     Now, finally, turning to paragraph 59 -- actually I'm

18   sorry, that's 55.     The defendant says:      Because we already

19   agreed.    Hey, get that line because we are going to work

20   really hard if you can get it for me.

21               What do you understand the defendant to be referring

22   to here?

23   A     The line refers to the landing strip and for him to get

24   it so that we can do constant trips and there would be a

25   better flow of work.

                      GEORGETTE K. BETTS, RPR, FCRR, CCR
                           Official Court Reporter
Case 1:09-cr-00466-BMC-RLM Document 641 Filed 07/10/19 Page 129 of 142 PageID #:
                                    13016                              5135
                  ALEXANDER CIFUENTES - DIRECT - PARLOVECCHIO

1    Q     And to be clear, the Spanish word for the line is what?

2    A     "La rayita" means landing strip.

3    Q     Are you aware of how the defendant's drug money was sent

4    from New York to Mexico?

5    A     In cars through Damaso Lopez.

6    Q     And how about if the defendant needed to get his drug

7    money from New York down to Colombia, how would that work?

8    A     We would do it through my brother Jorge's friends.

9    Q     How do you know about that?

10   A     I coordinated the shipments.

11   Q     What was the purpose of sending drug money from New York

12   down to Colombia?

13   A     To buy cocaine.

14   Q     Now what were some of the methods that you used on behalf

15   of the defendant to get money from New York to Colombia?

16   A     Well, yes, there were several methods.         One was through a

17   company that my brother opened with his partner Juan Pablo

18   Londono.    The name of the company was Monedeaux and that was

19   through some debit cards.       And those debit cards were

20   recharged with a certain amount of money, I think it was

21   $9,900.    And then once those cards were in Ecuador there were

22   people who were in charge of withdrawing that money from ATMs.

23   And those cards were rechargeable.

24               And that idea was introduced to Joaquin.         Since the

25   beginning he didn't like it very much because he said that it

                      GEORGETTE K. BETTS, RPR, FCRR, CCR
                           Official Court Reporter
Case 1:09-cr-00466-BMC-RLM Document 641 Filed 07/10/19 Page 130 of 142 PageID #:
                                    13017                              5136
                  ALEXANDER CIFUENTES - DIRECT - PARLOVECCHIO

1    would never end -- withdrawing all that money from ATMs, and

2    for that we started with approximately $2 million.

3                There were different people who were involved in the

4    shipping of the money.      For example, Lazaro, and he had

5    Atlanta as his base and he did it through an insurance

6    company, and he was in charge of that part.

7                There were another guy by the name Mangueras, who

8    also sent the money to Ecuador.

9                We had another person by the name Shimon Yelenick,

10   and he coordinated with my niece's husband, Juan Bonito.

11   There were electronic wire transfers made to Chinese banks and

12   they would deliver the cash in Colombia.

13   Q     So you mentioned somebody named Lazaro.

14   A     That's right.

15   Q     How were you introduced to Lazaro?

16   A     Through my brother, Jorge Milton.

17   Q     Did you meet him face to face or over the phone?

18   A     It was over the phone.

19   Q     Did you personally move money using Lazaro?

20   A     Yes, of course.

21   Q     And can you just please describe the process by which you

22   used Lazaro to get money from the U.S. down to Colombia.

23   A     Well, once we had the cash we would call him and we would

24   request a specific number so that we could then do the

25   delivery and our person would already have his number and they

                      GEORGETTE K. BETTS, RPR, FCRR, CCR
                           Official Court Reporter
Case 1:09-cr-00466-BMC-RLM Document 641 Filed 07/10/19 Page 131 of 142 PageID #:
                                    13018                              5137
                  ALEXANDER CIFUENTES - DIRECT - PARLOVECCHIO

1    would then make an appointment so that he would meet up with

2    him and deliver the money.

3    Q     So Lazaro would meet up with them?

4    A     Yes, that's right.

5    Q     I'm going to show you what's marked for identification as

6    Government's Exhibit 609C.       And, generally, what are we

7    looking at here?

8    A     I'm looking at a CD with my initials, the date, the month

9    and the year in which I wrote those and indicating I listened

10   to that CD.

11   Q     What is on this CD?

12   A     Joaquin's voice, mine and that of a third person.

13               MS. PARLOVECCHIO:     The government moves to admit

14   Government's Exhibit 609C.

15               MR. LICHTMAN:    No objection.

16               THE COURT:    Received.

17               (Government Exhibit 609C, was received in evidence.)

18   Q     I want to play you a recording from this exhibit.          I'm

19   going to direct the witness' attention and the jury's

20   attention to transcript 609A-7T.        And for the record, we'll be

21   playing the recording from nine seconds to two minutes and 57

22   seconds and in the transcript this will start at paragraph 2

23   and it will also appear on your screens.

24               (Audiotape played.)

25               (Audiotape stopped.)

                      GEORGETTE K. BETTS, RPR, FCRR, CCR
                           Official Court Reporter
Case 1:09-cr-00466-BMC-RLM Document 641 Filed 07/10/19 Page 132 of 142 PageID #:
                                    13019                              5138
                  ALEXANDER CIFUENTES - DIRECT - PARLOVECCHIO

1    Q     Mr. Cifuentes, do you recognize any of the speakers on

2    this call?

3    A     Yes, ma'am.

4    Q     Which speakers do you recognize?

5    A     Mr. Joaquin Guzman Loera and mine.

6    Q     And there was a third speaker on the call, did you

7    recognize his voice?

8    A     No, ma'am.

9    Q     Now just to be clear, when you heard the defendant's

10   voice, what initials did you see in the transcript?

11   A     JGL.

12   Q     And when you heard your voice what initials did you

13   hear -- did you see?

14   A     It's not on here.

15   Q     So --

16   A     Just give me a moment, please.

17   Q     Sure.

18   A     AC, an A and a C.

19   Q     I want to draw your attention to -- just to be clear,

20   when this call happened, did you know you were being recorded?

21   A     No.

22   Q     Now I want to draw your attention to paragraph 47 of the

23   transcript -- actually paragraph 46, where you say, Lazaro.

24   A     Yes.

25   Q     What is this reference to Lazaro?

                      GEORGETTE K. BETTS, RPR, FCRR, CCR
                           Official Court Reporter
Case 1:09-cr-00466-BMC-RLM Document 641 Filed 07/10/19 Page 133 of 142 PageID #:
                                    13020                              5139
                  ALEXANDER CIFUENTES - DIRECT - PARLOVECCHIO

1    A     Lazaro, the guy, my guy.      The one who was going to pick

2    up the money.

3    Q     Is that the same Lazaro that you just testified about

4    earlier?

5    A     That's right.

6    Q     And then the third person on the call responds, Lazaro?

7    And you reply, That's right.

8                 And then the third person replies, On behalf of?

9                 And then you respond, on behalf of Benjamin.

10   A     Yes.

11   Q     What's going on in that passage?

12   A     Well, like when you're going to receive or deliver some

13   money you have to know from who to who.         I chose the name

14   Benjamin because Benjamin was the guy -- he was one of our

15   guys.

16   Q     And did you testify about Benjamin earlier today?

17   A     Yes.

18   Q     Who is Benjamin?

19   A     He was the person who was in charge of intercepts for us.

20   Germinio Vega Cisneros.

21   Q     Did you have Lazaro travel anywhere in connection to this

22   call?

23   A     I sure did.    Before this he was in Atlanta and I had to

24   tell him that he had to go to Chicago to pick up some money.

25   Q     Did you know any details about the drug transaction, this

                      GEORGETTE K. BETTS, RPR, FCRR, CCR
                           Official Court Reporter
Case 1:09-cr-00466-BMC-RLM Document 641 Filed 07/10/19 Page 134 of 142 PageID #:
                                    13021                              5140
                  ALEXANDER CIFUENTES - DIRECT - PARLOVECCHIO

1    money in Chicago was related to?

2    A     No.

3    Q     Now you testified that you stopped selling drugs in New

4    York around 2010.

5    A     Yes.

6    Q     Did there come a time when you tried to reach out to drug

7    distributors in New York after that?

8    A     Yes.

9    Q     Approximately when was that?

10   A     In 2013.

11   Q     Why did you want to have contact with drug distributors

12   in New York in 2013?

13   A     Joaquin asked me to.      We wanted to reestablish business

14   with New York.

15   Q     Did you communicate with anyone about reconnecting with

16   New-York-based distributors?

17   A     Yes.

18   Q     Who is that?

19   A     With Andrea, my secretary.

20   Q     And how were you communicating with Andrea, your

21   secretary, about this subject?

22   A     Blackberry.

23   Q     I'm going to show you what's in evidence as Government's

24   Exhibit 604H-1T.     Just, generally, what do you recognize this

25   to be?

                      GEORGETTE K. BETTS, RPR, FCRR, CCR
                           Official Court Reporter
Case 1:09-cr-00466-BMC-RLM Document 641 Filed 07/10/19 Page 135 of 142 PageID #:
                                    13022                              5141
                  ALEXANDER CIFUENTES - DIRECT - PARLOVECCHIO

1    A     Yes.    I'm asking Andrea there to check on the prices with

2    her Italian friend.      The price for heroin, how much it is per

3    kilo and also for white heroin.        And ice, how much it's being

4    purchased for.

5    Q     Who are the participants in this -- is this the

6    Blackberry message?

7    A     Yes, it is a Blackberry message.

8    Q     Who are the participants?

9    A     Andrea Fernandez and me.

10   Q     Who is using the pin 328544A9?

11   A     Let me see, me.

12   Q     Who is using pin 20C5CCDA?

13   A     Andrea is.

14   Q     I want to direct your attention to paragraph 3 of this

15   message.     And that's you, right, 328544A9?

16   A     Yes.

17   Q     You say:    Send me his pin in order to check some

18   information with that guy and don't forget to find the

19   Dominicans from the towers please to see who's over there.

20                What are you saying there?

21   A     I'm asking Andrea for Mr. Tom's pin in order to verify

22   some information with him.

23   Q     Sorry.

24   A     And to please help me find the Dominicans who are in the

25   towers, meaning in New York, to see who is there available for

                      GEORGETTE K. BETTS, RPR, FCRR, CCR
                           Official Court Reporter
Case 1:09-cr-00466-BMC-RLM Document 641 Filed 07/10/19 Page 136 of 142 PageID #:
                                    13023                              5142
                  ALEXANDER CIFUENTES - DIRECT - PARLOVECCHIO

1    sales.

2    Q     Now directing your attention further down the page to

3    paragraph 6 where you say, All right, ask the price of each

4    product, you know which ones.       C, I, H there where you are at

5    and the price in tower for heroin.

6    A     That's right.

7    Q     What are you referring to there?

8    A     When I say, you know which ones, C is cocaine; I is ice;

9    and H is heroin.     When I say there where you are, it's Canada.

10   At that time she was in Toronto.        And I'm also asking for her

11   to look for the price in New York for the heroin.

12   Q     Now were you ultimately successful in reaching out to

13   distributors in New York City?

14   A     No, ma'am.

15   Q     Now you testified earlier that Juan Bonito moved drug

16   money for you and the defendant.        Were you aware of a plan to

17   kill Juan Bonito?

18   A     That's right.

19   Q     Approximately when was that?

20   A     In 2008.

21   Q     How do you know about it?

22   A     Well, we thought he was an informant and he had some

23   irregularities with money.

24   Q     When you say, we thought he was an informant, who are you

25   referring to?

                      GEORGETTE K. BETTS, RPR, FCRR, CCR
                           Official Court Reporter
Case 1:09-cr-00466-BMC-RLM Document 641 Filed 07/10/19 Page 137 of 142 PageID #:
                                    13024                              5143
                  ALEXANDER CIFUENTES - DIRECT - PARLOVECCHIO

1    A     Joaquin Guzman Loera and me.

2    Q     Who was part of the plan to kill Juan Bonito?

3    A     My nephew Jaime Alberto, me and eventually Joaquin Guzman

4    Loera.

5    Q     So what was the defendant's role in this plan?

6    A     He said he would put up $50,000 for him to be killed.

7    Q     Why did the defendant want to pay $50,000 to have him

8    killed.

9    A     Well, you had to pay for the job.

10   Q     Now, were you successful in having Juan Bonito killed?

11   A     No.

12   Q     Now, you testified earlier about your nephew Jaime

13   Alberto?

14   A     That's right.

15   Q     Did there come a time when you tried to have him killed?

16   A     That's right.

17   Q     Who was a part of the plan to kill Jaime Alberto?

18   A     Andrea was helping me with a friend from Medellin.

19   Q     What was your friend from Medellin's name?

20   A     Timbiriche.

21   Q     Why did you want to have Jaime Alberto killed?

22   A     He had stolen some cocaine and he tried to kidnap my

23   mother.

24   Q     Now the cocaine you referenced that Jaime Alberto tried

25   to steal, is this the cocaine that you discussed earlier that

                      GEORGETTE K. BETTS, RPR, FCRR, CCR
                           Official Court Reporter
Case 1:09-cr-00466-BMC-RLM Document 641 Filed 07/10/19 Page 138 of 142 PageID #:
                                    13025                              5144
                  ALEXANDER CIFUENTES - DIRECT - PARLOVECCHIO

1    was supposed to be picked up in Bogota?

2    A     That's right, cocaine belonging to Joaquin Guzman Loera.

3    Q     Now, what steps did you take to try to kill Jaime

4    Alberto?

5    A     I spoke to Timbiriche, I told him about the event and he

6    said that we had to look into things first because it was

7    possible that he was receiving bad advice and we had to check

8    out who were the people that he was involved with.

9    Q     When Timbiriche said he was receiving bad advice, who did

10   you understand him to be referring to?

11   A     That my nephew, Jaime Alberto, had been receiving bad

12   advice.

13   Q     Is Jaime Alberto still alive?

14   A     He's alive.

15   Q     Now you testified that the defendant and his workers had

16   firearms.    Were you aware --

17   A     Yes.

18   Q     -- of how the defendant obtained firearms?

19   A     Yes, of course.

20   Q     How did you learn about that?

21   A     I was right next to him and I helped him obtain weapons.

22   Q     So who are some of the sources that you used to get the

23   defendant weapons?

24   A     Through Captain Telmo Castro in Ecuador, through

25   Mrs. Julisa Brenis Honduras, and through Mr. Shimon Yelenick,

                      GEORGETTE K. BETTS, RPR, FCRR, CCR
                           Official Court Reporter
Case 1:09-cr-00466-BMC-RLM Document 641 Filed 07/10/19 Page 139 of 142 PageID #:
                                    13026                              5145
                  ALEXANDER CIFUENTES - DIRECT - PARLOVECCHIO

1    but we didn't buy from him, he didn't buy from him.

2    Q     Let's first talk about Telmo, when did you get weapons

3    from Telmo for the defendant?

4    A     Like 2000 -- end of 2010, 2011.

5    Q     And can you describe what weapons you obtained from

6    Telmo?

7    A     Yes, we sent more than $30,000 --

8                THE INTERPRETER:     Interpreter correction.

9    A     $300,000 to purchase RPG 7s and MGLs of 40-millimeters.

10   Q     Now you testified that you also tried to obtain weapons

11   from Julisa Brenis, could you just remind the jury who is

12   Julisa Brenis is?

13   A     Julisa Brenis is the widow of a Mr. Paico a Honduran drug

14   trafficker.

15   Q     What arrangements did you make with Julisa Brenis to get

16   weapons for the defendant?

17   A     There was a representative on behalf of Joaquin,

18   El Apache, and he went and he looked at the ones that Joaquin

19   needed and we bought them.

20   Q     What types of things did you get from Julisa Brenis?

21   A     We chose starting from C4 explosives, grenades, and

22   assault rifles.

23   Q     Now you testified that you obtained RPG-7s and grenades

24   from for the defendant, did you have an understanding why he

25   needed those types of weapons?

                      GEORGETTE K. BETTS, RPR, FCRR, CCR
                           Official Court Reporter
Case 1:09-cr-00466-BMC-RLM Document 641 Filed 07/10/19 Page 140 of 142 PageID #:
                                    13027                              5146
                  ALEXANDER CIFUENTES - DIRECT - PARLOVECCHIO

1                 MR. LICHTMAN:   Objection.

2                 THE COURT:   Hold on.    Sustained.

3    BY MS. PARLOVECCHIO:

4    Q     Did you ever observe these weapons, like RPG-7s or

5    grenades being used while you lived in the mountains?

6                 MR. LICHTMAN:   Objection.

7                 THE COURT:   Overruled.

8    A     No, ma'am.

9    Q     Now have you heard the term "rafaga?"

10   A     Yes.

11   Q     What does it mean?

12   A     When you shoot more than one shot at a time is --

13                MR. LICHTMAN:   Objection.    403.

14                THE COURT:   I don't know where it's going.       Standing

15   alone it's not a problem.       I'll overrule it for now.

16                How far are you going?

17                MS. PARLOVECCHIO:    One more question.

18                THE COURT:   Okay.

19   BY MS. PARLOVECCHIO:

20   Q     Do you know whether any of the defendants' weapons were

21   rafaga?

22                MR. LICHTMAN:   Objection.

23                THE COURT:   Overruled.

24   Q     You may answer.

25   A     All of them.    All of the ones that were assault rifles,

                      GEORGETTE K. BETTS, RPR, FCRR, CCR
                           Official Court Reporter
Case 1:09-cr-00466-BMC-RLM Document 641 Filed 07/10/19 Page 141 of 142 PageID #:
                                    13028                              5147
                  ALEXANDER CIFUENTES - DIRECT - PARLOVECCHIO

1    they all had to have the burst mode rafaga.

2    Q     How do you know that?

3    A     I had one, and they were all the same.         They had the

4    safety position, the shot by shot, and the burst rafaga

5    position.

6                MS. PARLOVECCHIO:     Your Honor, I'm actually at a

7    good stopping point.

8                THE COURT:    All right.    We'll send you home, ladies

9    and gentlemen.     Please don't talk about the case with friends,

10   family or anybody else.      Don't post anything on the Internet,

11   don't do any research on Google, stay away from any media

12   coverage of the case.      Please turn the page, hit the remote

13   control.

14               We'll see you tomorrow morning at 9:30 a.m.         Thank

15   you so much for your attention.        We know you're working very

16   hard.

17               (Jury exits courtroom.)

18               THE COURT:    Anything we need to cover?

19               MS. PARLOVECCHIO:     Not from the government.

20               MR. PURPURA:    No, thank you.

21               THE COURT:    See you tomorrow morning at 9:30.

22               (Whereupon, the trial adjourned at 4:30 p.m. to

23   resume Tuesday, January 15, 2019 at 9:30 a.m.)

24

25

                      GEORGETTE K. BETTS, RPR, FCRR, CCR
                           Official Court Reporter
Case 1:09-cr-00466-BMC-RLM Document 641 Filed 07/10/19 Page 142 of 142 PageID #:
                                   13029                               5148


1                                   I N D E X

2    WITNESS                                       PAGE

3    HILDEBRANDO ALEXANDER CIFUENTES VILLA

4    DIRECT EXAMINATION                              5016

5                            BY MS. PARLOVECCHIO

6

7                                E X H I B I T S

8
     GOVERNMENT                   PAGE
9    601J-9                        5018
     811-3                         5033
10   63                            5041
     68                            5042
11   20                            5050
     607B                          5130
12   609C                          5137

13

14

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16

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                      GEORGETTE K. BETTS, RPR, FCRR, CCR
                           Official Court Reporter
